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                17-171                               To Be Argued By:




                    d
                                                     NICOLE BOECKMANN


 United States Court of Appeals
                         For the Second Circuit


                   UNITED STATES OF AMERICA,
                                                                  Appellee,
                               —against—

DERICK HERNANDEZ, also known as D-NICE, MERLYN BERNITEZ,
also known as FRANKIE C, DAQUANNE NUNN, also known as TRAP,
COURTNEY SMITH, also known as COURT DOG, also known as
COOL, TYSHAWN GITTO, also known as TA TA, ROMMEL LOBBAN,
also known as RAH DOLLA, RUDY MONTOUR, also known as SUS 1,
KURTIS PHILLIP, also known as KNOXX, JAHMANI HAMILTON,
also known as G-MONEY, KWAME LAKE, also known as PAID,
BRANDON SHORT, also known as B-SHAWT, ERIC SMITH, also
known as ESAMA, also known as ESCO,
                                                 Defendants,
           RAPHAEL OSBORNE, also known as GUSTO,
                                                      Defendant-Appellant.

           On Appeal From The United States District Court
                For The Eastern District of New York


BRIEF AND SPECIAL APPENDIX FOR THE UNITED STATES


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                   UNITED STATES COURT OF APPEALS

                       FOR THE SECOND CIRCUIT

                          Docket No. 17-171


                     UNITED STATES OF AMERICA,

                                              Appellee,

                               -against-

 DERICK HERNANDEZ, also known as D-NICE, MERLYN BERNITEZ, also
known as FRANKIE C, DAQUANNE NUNN, also known as TRAP, COURTNEY
  SMITH, also known as COURT DOG, also known as COOL, TYSHAWN
 GITTO, also known as TA TA, ROMMEL LOBBAN, also known as RAH
DOLLA, RUDY MONTOUR, also known as SUS 1, KURTIS PHILLIP, also
known as KNOXX, JAHMANI HAMILTON, also known as G-MONEY, KWAME
LAKE, also known as PAID, BRANDON SHORT, also known as B-SHAWT,
     ERIC SMITH, also known as ESAMA, also known as ESCO,

                                              Defendants,

              RAPHAEL OSBORNE, also known as GUSTO,

                                              Defendant-Appellant.


        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NEW YORK



                    BRIEF FOR THE UNITED STATES



                        PRELIMINARY STATEMENT

         Raphael    Osborne   appeals    from   a   judgment   entered   on

January 17, 2017, in the United States District Court for the
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                                                                                       2

Eastern District of New York (Seybert, J.), convicting him, after

a jury trial, of: (1) racketeering in violation of 18 U.S.C.

§ 1962(c) (Count One); (2) racketeering conspiracy in violation of

18 U.S.C. § 1962(d) (Count Two); (3) Hobbs Act robbery conspiracy

in violation of 18 U.S.C. § 1951(a) (Count Three); (4) Hobbs Act

robbery    in       violation    of    18   U.S.C.    §   1951(a)      (Count     Four);

(5) brandishing firearms during a crime of violence, Hobbs Act

conspiracy           and    robbery,        in    violation       of        18    U.S.C.

§ 924(c)(1)(A)(i); (6) Hobbs Act robbery conspiracy in violation

of 18 U.S.C. § 1951(a) (Count Six); (7) Hobbs Act robbery in

violation of 18 U.S.C. § 1951(a) (Count Seven); (8) brandishing a

firearm during a crime of violence, Hobbs Act conspiracy and

robbery,       in    violation    of   18    U.S.C.    § 924(c)(1)(A)(i)          (Count

Eight);     (9)       murder     conspiracy      in   violation        of    18   U.S.C.

§ 1959(a)(5) (Count Nine); (10) attempted murder in violation of

18 U.S.C. § 1959(a)(5) (Count Ten); (11) assault with a dangerous

weapon in violation of 18 U.S.C. § 1959(a)(3) (Count Eleven);

(12) witness retaliation in violation of 18 U.S.C. § 1513(a)(1)(B)

(Count Twelve); (13) witness retaliation conspiracy in violation

of 18 U.S.C. § 1513(f) (Count Thirteen); (14) discharging a firearm

during     a        crime   of    violence       in   violation     of      18    U.S.C.

§ 924(c)(1)(A)(i) (Count Fourteen); (15) attempted murder of a

rival gang member in violation of 18 U.S.C. § 1959(a)(5) (Count
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Fifteen); (16) assault of a rival gang member in violation of 18

U.S.C. § 1959(a)(3) (Count Sixteen); (17) discharging a firearm

during   a    crime      of     violence   in     violation    of      18        U.S.C.

§ 924(c)(1)(A)(i) (Count Seventeen); (18) conspiracy to distribute

controlled        substances    in   violation     of   21    U.S.C.        §§     846,

841(b)(1)(A)(iii) (Count Eighteen); (19) use of firearms during a

drug trafficking crime in violation of 18 U.S.C. § 924(c)(1)(A)(i)

(Count Nineteen); (20) murder and assault of rival gang members

with dangerous weapons in violation of 18 U.S.C. §§ 1959(a)(5),

1959(a)(6) (Count Twenty); and illegal possession of ammunition in

violation of 18 U.S.C. §§ 922(g), 924(a)(2) (Count Twenty-One).

The district court sentenced Osborne principally to consecutive

life terms of imprisonment on Counts One, Two and Eighteen, to be

followed by 135 years’ imprisonment as to all other counts.                         The

court also imposed a mandatory assessment of $2,100.

             On    appeal,     Osborne   raises   several     claims.            First,

Osborne contends that the evidence was insufficient to convict him

of racketeering, racketeering conspiracy,               and the      substantive

charges associated with the racketeering counts.                    Osborne also

claims that the district court committed error when it: (1) denied

his Batson challenge at trial; (2) instructed the jury that it

could convict him based upon a Pinkerton theory of liability for

charges arising under New York State law; (3) denied his pre-trial
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                                                                            4

Franks motion to suppress evidence without a hearing; (4) precluded

him from calling two Nassau County Police Department (“NCPD”)

detectives as witnesses; (5) admitted hearsay evidence via the

testimony of cooperating witness Daron Morris; and (6) admitted

purportedly irrelevant and inflammatory photographs at trial.

Finally, Osborne contends that his sentence is excessive and that

the   written   judgment    must   be   amended    to   reflect    the   oral

pronouncement of sentence.

            For all the reasons stated below, these claims are

without merit and Osborne’s convictions and sentence should be

affirmed.
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                                                                            5

                           STATEMENT OF FACTS

I.   Overview

           Raphael    Osborne’s    April    17,   2013   arrest   and   later

conviction arose out of his participation in and direction of the

Roosevelt, New York “set” of the Rollin’ 60s Crips, a nationwide

street gang with members on Long Island, New York (also referred

to herein as the “Rollin’ 60s” or “the gang”).            (T 269, 271, 278,

908, 1014-15, 1378-80, 2005, 2095-96).1           Osborne, whose gang name

was “Gusto,” was the leader, and founder, of the Rollin’ 60s Crips.

(T 271, 278, 908, 1014-15, 1378-80, 2005, 2095-96). As is relevant

to this appeal, the charges against Osborne involved racketeering,

including the predicate acts of: (1) conspiracy to distribute

controlled substances; (2) conspiracy to murder and assault rival

gang members; (3) the attempted murder of Johnny Green, a rival

gang member; (4) robberies of two separate drug dealers in the

Fall of 2010; and (5) the 2012 conspiracy to murder a federal

informant.




     1    Parenthetical references to “A,” “Br.,” and “GA” are to
Osborne’s appendix and brief and the government’s appendix,
respectively. References to “T” and “GX” are to the trial
transcript and government trial exhibits, respectively.
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II.   The Trial

      A.     The Government’s Case

             At a five-week trial commencing March 8, 2016, the

government        provided       a     multitude     of   evidence,       including:

(1) testimony of four former members of the Rollin’ 60s Crips

(Aaron Halyard, Reynaldo Hernandez, Essix Robinson, and Denzel

Smith),    some     of    whom       participated    in   the    crimes   at    issue;

(2) testimony of a close associate of the Rollin’ 60s (Jeffrey

Appiagyei),       who     participated      in     Osborne’s     narcotics     dealing

operation; (3) the testimony of Daron Morris, who participated in

drug trafficking and robberies with Osborne and to whom Osborne

admitted that he attempted to kill a person (Maurice Gardner)

cooperating with local law enforcement; (4) the testimony of

various federal and local law enforcement officers; (5) audio

recordings of cell phone conversations and copies of text messages;

(6) social media postings and photographs; (7) audio recordings of

gunfire; and (8) the testimony of several expert witnesses.

             1.    The Enterprise: The Rollin’ 60s Crips

             The Rollin’ 60s Crips gang originated in Los Angeles,

California and is comprised of smaller sets located throughout the

United States.           (T 269, 289-91, 1026-27).              Across the country,

Rollin’ 60s Crips members identify themselves, to other members as

well as to rival gangs, by wearing the gang’s colors — primarily
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                                                                              7

the color blue — and by use of tattoos, hand signs and graffiti.

(T 293-354, 1040-49, 1393-1403, 2102-07).

            The Rollin’ 60s Crips set based in Roosevelt, New York

was founded by Osborne, along with Daquan Chambers (“Dulo”) and

Johnny Green (“J-Loc”), in or about 2003.               (T 279, 293, 1028,

1071).     Among other practices, Roosevelt Rollin’ 60s members

conducted formal meetings known as “C-13s” (T 1049-52, 1411, 2100),

pooled resources to purchase firearms to be made available to the

gang generally (T 355-62, 691-92, 714, 1022-23, 1061-63, 1412,

2101-02), and contributed money to support incarcerated members

(T 354-55, 1052-55, 1389-90). To enrich themselves and to maintain

respect for the gang, Roosevelt Rollin’ 60s members also engaged

in criminal activity (“put in work”), including murder, robbery

and   narcotics    trafficking.        (T 1052-55,     1061-63).         Indeed,

participation in these types of crimes affected the degree of

respect afforded members2 (T 899, 1016-22, 1068, 1387, 2013, 2095),

who were assigned different ranks, ranging from “Big Whale,”

Osborne’s position, to “Big Hoodstas” or “Big Hoods,” followed by

“Hoodstas,” “Baby Hoods” and “Tiny Hoods” (T 279, 1025, 1228-50,

1386-89, 2096).     The more “work” put in on behalf of the gang, the




      2   Involvement in these activities also could lead to the
induction of new gang members. (T 282-83, 1017-18, 1383-84, 2013-
14).
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                                                                              8

higher the rank.      (T 280-81, 502-03, 899-900, 1028, 1068, 1387,

1431-34, 2102).

             Although gang members, including Osborne, maintained

contact with the nationwide leadership of the Rollin’ 60s Crips,

Osborne had final say in the local operations of the gang.              (T 291,

1026-27).    Under Osborne, members were obligated to: (1) refuse

cooperation with law enforcement officials; (2) attack, injure and

kill rival gang members on sight and by whatever means available

(the “on sight rule”);3 (3) maintain respect for the gang and its

territory; and (4) remain loyal to the gang above all else.

(T 286-88, 481-505 878-82, 1017-18, 1029-33, 1070-71, 1407-11,

1413, 2098-99).    Gang members who violated the rules, or failed to

follow Osborne’s instructions, were disciplined.            The form of the

discipline would vary depending on the nature of the infraction.

Minor infractions of gang rules could result in a beating or

expulsion from the gang.4          More serious infractions, such as

cooperating with law enforcement against the gang, were punishable

by death.   (T 288, 1024, 1409, 2100).



     3     This rule was established by Osborne, Chambers and
Green.   (T 483, 490-91, 878-82, 1029-33, 1413, 1465, 2098-99).
     4    When Rollin’ 60s members “Rock” and “Melman” failed to
attend a meeting called by Osborne in December of 2010, both
individuals were disciplined by the gang. Specifically, Rock was
robbed, and Melman was expelled from the gang. (T 531-32, 1035-
37).
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                                                                            9

          2.    The Crimes

                 a.    Conspiracy To Murder
                       Rival Gang Members

                       i.    The Gang’s “On Sight Rule”

          As noted above, persons joining the Roosevelt Rollin’

60s were made aware of the “on sight rule” that existed within the

gang.   (T 487, 501, 2098).       This rule required gang members to

shoot, kill, stab or fight any members of the rival Bloods gang

whenever and wherever encountered.        (T 483, 490-91, 878-82, 1029-

33, 1413, 1465, 2098-99).      The “on sight rule” remained in effect

the entire time Osborne was the leader of the Roosevelt Rollin’

60s, from 2003 until his arrest in April of 2013.           (T 881).

          The     results    of   this     Osborne-imposed      rule     were

staggering.     For example, on October 21, 2006, Rollin’ 60s member

Devon Cabrera (“Sty”) chased Bloods member Kail Ferro (“Beast”)

down Park Avenue in Roosevelt, and shot Ferro in the back, killing

him, for no reason other than the lack of respect demonstrated by

that Bloods member’s decision to walk in enemy territory.              (T 495-

97, 1068-71).

          Similarly, on June 22, 2008, 15-year-old Rollin’ 60s

member Cody Hernandez (“Monsta Cody”) shot and killed Bloods member

Lord Carter based on nothing other than Carter’s gang affiliation.

(T 488-89, 1074-75).
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                                                                           10

           Then,   on   September    20,   2010,   Rollin’    60s   associate

Reynaldo Hernandez and Rollin’ 60s member Daquanne Nunn shot Bloods

member Jermaine Green at a local Bloods hangout located at 63

Pleasant Avenue in Roosevelt.        (T 1368-70).

           Less than a year later, on July 4, 2011, Rollin’ 60s

member Derick Hernandez (“D Nice”) directed lower-ranking gang

members, including Robinson, to “shoot up” a Bloods house party,

where Hernandez had earlier seen Bloods member Daquan Wagner

(“Studder”).   (T 1429-33).     Armed with semi-automatic handguns and

an assault rifle, Robinson and two other Rollin’ 60s members went

to the house and fired numerous shots at Bloods members and

associates standing outside.        (Id.).

           On August 30, 2012, Derick Hernandez and other gang

members, including Denzel Smith and Kurtis Philip, followed Bloods

member Cornell Brown in his car as it drove through Roosevelt,

eventually opening fire on him and striking him in the arm.

(T 2016-22, 2184).5



     5    In addition to these violent crimes that were committed
as part of the ongoing war between the Roosevelt Crips and Bloods,
Osborne’s gang members committed numerous other attempted murders
and assaults pursuant to the “on sight rule,” including: (1) the
Thoma Place Bloods shooting (where Rollin’ 60s member Smith shot
at individuals because they were using “Bloods lingo”) (T 2076-
79); (2) the Midway Deli shooting (in the early evening Crips
member Jahmani Hamilton fired several shots at Bloods member
Christopher Anderson on a crowded street in front of the deli)
(T 1437-39); (3) Halyard’s shooting of Bloods member Shane Howell
for walking in Crips territory (T 502-03); (4) Halyard and Crips
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                                                                         11

                      ii.   Osborne’s Acts Of Violence

          In addition to the murders and assaults committed by

Osborne’s gang carried out pursuant to Osborne’s edict to harm

Bloods members whenever the opportunity presented itself, Osborne,

himself, assaulted and attempted to assault and murder rival gang

members in adherence to the “on sight rule” and in furtherance of

the ongoing war between the Crips and Bloods in Roosevelt.

                            1.    The Attempt To Shoot King Carter

          One   example     of   Osborne’s    personal     involvement   in

violence directed at rivals occurred on January 10, 2006, when,

from his vehicle, Bloods member King Carter (Lord Carter’s brother)

shot at Osborne, Rollin’ 60s member Halyard, and others inside

Osborne’s home.     (T 375).     Osborne responded by retrieving two

firearms from his residence, one of which was a 40-caliber pistol

with a laser sight, and set off with Halyard in an attempt to find




member Daquann Nunn’s assault of Bloods member Jermaine Berry (they
stabbed him in the chest and hit him with a baseball bat) (T 504-
05); (5) Halyard and several other Rollin’ 60s members shooting at
Bloods members at 2 Williams Street (T 519-21); (6) the shooting
of Bloods member Allazeem Carter (T 490); (7) the assault of Bloods
member Lord Carter (T 1413-18); (8) the shooting of a Bloods member
known as “Stacks” (T 2014-15, 2184); (9) the shooting of a Bloods
member known as “Reek Da Villain” (T 2025-35, 2184); (10) the
attempted shooting of a Bloods member known as “Lawrence” (T 2023-
25); and (11) multiple shootings of Bloods member King Carter
(T 485-87).
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                                                                            12

and shoot Carter.      (T 375-78, 484-86).        Ultimately, Osborne was

unsuccessful in his attempt to locate Carter.6

                             2.    Osborne’s Attempted Murder Of
                                   Bloods In The Summer Of 2012

           Another incident occurred in the Summer of 2012, after

Osborne had been contacted by Robinson, who had observed a group

of Bloods members (Cornell Brown, Jermaine Green and Jermaine

Green’s brother Johnny Green7 (“Fat Johnny” or “Snacks”)) inside a

local delicatessen.     (T 1453-54, 1470-72).        Robinson, in an effort

to comply with the “on sight rule,” first called Rollin’ 60s member

Timothy Gaines (“T-Hood”) to acquire a firearm to shoot the Bloods.

(T 1455, 1472-73).       But because Gaines did not have a firearm

available, he suggested that Robinson contact Osborne.                  (Id.).

Robinson called Osborne, and Osborne directed Robinson to remain

where he was until Osborne arrived.        (Id.).    Armed with a handgun,

Osborne arrived minutes later, but the Bloods had already left.

(Id.).    Osborne    told   Robinson    that   the    Bloods   members   were

fortunate that they were gone because had Osborne seen them, he

would have “popped” one, meaning shot or killed one of them.

(T 1456, 1473-78).


     6    Instead, later that day, Osborne was arrested on a
firearm (the 40-caliber pistol) charge. (T 378, 996-1006).
     7    This Johnny Green is not the Johnny Green, also known as
“J-Loc,” who had helped Osborne to found the Rollin’ 60s Crips in
Roosevelt. (T 673-74).
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                                                                               13

                              3.     The Attempted Murder
                                     Of Johnny Green

            A   third   example     of    Osborne’s   participation      in   the

campaign of violence directed at rivals and adherence to his “on

sight rule” occurred on the night of January 30, 2013, when Osborne

and gang members Rommel Lobban (“Rah”) and Merlyn Benitez (“Frankie

C”) conspired to and then attempted to kill Bloods member Johnny

Green.    Driving in Lobban’s silver four-door Chevy Impala, Osborne

fired several shots at a vehicle in which Green was riding with

others.     Bullets ripped through the vehicle, including a bullet

that passed through the driver’s headrest and the back seat.

(T 921-32, 959-74).       Green was struck once in the stomach, with

the bullet lodging in his exterior fat.           (T 2302-03).    At the scene

of the shooting, law enforcement officers recovered eight 40-

caliber shell casings and two 45-caliber shell casings.                  (T 935-

44).

            Subsequently, Osborne told Halyard that he “and Frank

just shot up a guy named Fat Johnny.”             (T 601).     In response to

Halyard’s    question    about     what   Green   “got   hit   with,”    Osborne

replied, “the forty and the four pound,” meaning a 40-caliber and

a 45-caliber firearm.       (T 600-06, 861-64).
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                                                                          14

            In a later conversation at which Halyard was present,

Osborne defended gang member and best friend Lobban8 from gang

chiding due to Lobban’s decision to run from police attempting to

stop him in his car about a month after the Gardner shooting.9

During the course of the conversation, Osborne explained that

Lobban knew that law enforcement officials were interested in

examining the silver Impala owned by the mother of Lobban’s child

in connection with the shooting of Fat Johnny.10             (T 605-06, 674-

75, 863-84).

                        iii. Targeted Attacks On Rival
                             Gang Members Ordered By Osborne

            Osborne’s campaign against rival Bloods members was not

limited to the application of the “on sight rule” or his personal

attacks on rivals.      There were several instances in which Osborne

specifically ordered his gang to kill a particular Bloods member.


     8    Halyard, Reynaldo Hernandez and Robinson testified that
Lobban was Osborne’s best friend within the gang and often served
as Osborne’s driver. (T 604-05, 1148, 1448).
     9    Police records confirmed that on March 2, 2013, NCPD
detectives, George Colby and John Mitchell, attempted to stop
Lobban while he was driving a gray Chevy Impala. Lobban led them
on a pursuit, which ended in Lobban’s apprehension and arrest for
marijuana possession. (T 2414-21).
     10   New York State Department of Motor Vehicles (“DMV”)
records confirmed that on January 30, 2013, the woman that Halyard
identified as the mother of Lobban’s child was the registered owner
of a gray Chevy Impala.     (T 1783-89).   Reynaldo Hernandez also
testified at trial that Lobban was driving a silver Chevy Impala
in January of 2013. (T 1148).
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                                                                                15

                                 1.   Murder Of James McClenic

            Shortly after Osborne returned from a stint in prison in

the Fall of 2010, he called a gang meeting and learned that a

younger     Bloods   member,      James    McClenic    (“Bubbz”),   had       been

committing assaults against Crips members.               (T 522-28, 779-87,

909,   1086-88).       In   an    effort    to    maintain   control     of    the

neighborhood, and to keep the Bloods in line, Osborne ordered that

McClenic be “dealt with,” i.e., killed. (T 523, 779-87, 909, 1088-

89). Subsequently, on December 15, 2010, Rollin’ 60s members Kwame

Lake and Terrell Dash reported McClenic’s location to other members

of the gang.       (T 523-24, 787-90).           Upon learning of McClenic’s

location, Rollin’ 60s members Eric Smith (Esama”), Bryan Henry

(“C-Ross”), and Lobban went looking for McClenic in Henry’s car.

(T 524-25, 788).        Later that evening, Smith, Henry and Lobban

located McClenic in a vehicle parked at a gas station in Hempstead,

New York.    Smith approached the vehicle, fired two shots into the

front passenger seat where McClenic was seated, striking him in

the neck and killing him.         (T 525-28, 1081, 1088-90).

                                 2.   Retaliation Against
                                      Revenge Shootings

            In the wake of McClenic’s murder, members of the Bloods

in Roosevelt retaliated against the Crips, shooting up Smith’s

home, shooting up Reynaldo Hernandez’s home, and setting Osborne’s

mother’s car on fire in the driveway of Osborne’s home.                  (T 526-
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                                                                            16

30, 1092-94).      In response, a furious Osborne called another

meeting of the Rollin’ 60s.          (T 530—31, 1093-95).         During the

course of the meeting, Osborne told younger gang members that it

was their time to “put in work,” directing them to shoot up the

home of a Bloods member (Justin Smith) believed to be involved in

the retaliatory shootings and the home of the deceased McClenic.

(T 530-34, 1096-99).      In response, these gang members shot dozens

of bullets through these two homes in the middle of the night.

(T 534-43, 1099-1101, 1699-1705, 1710-13, 1751-67).

                 b.    The Attempted Murder Of
                       Informant Maurice Gardner

           In the Spring of 2012, members of the Federal Bureau of

Investigation’s (“FBI”) Long Island Gang Task Force and the NCPD

began conducting an investigation into the activities of the

Roosevelt Rollin’ 60s.         (T 171).      During the course of that

investigation, a member of the Rollin’ 60s, Maurice Gardner, began

operating as a confidential informant for the FBI.               (T 171-72).

In that capacity, Gardner purchased five firearms from members of

the Rollin’ 60s, including from Halyard and Derick Hernandez.             One

such sale occurred outside Osborne’s home, while another occurred

inside Osborne’s residence with Osborne present.            (T 173-81, 182-

86,   187-91,   192-94,   558-70,    578-81,    583-87,    1284-86,     2048).

Gardner also arranged to purchase a firearm from Osborne, although

the deal did not occur because Osborne had become suspicious that
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                                                                             17

Gardner was cooperating with law enforcement.                (T 583-85, 1285-

87).

              Specifically, while the law enforcement investigation

was    ongoing,     Osborne    learned   of   information     indicating   that

Gardner was working as a federal informant.               (T 590, 1287, 1847,

2038). As a result, Osborne and Hernandez decided to kill Gardner.

(T 590-91, 1842-43).           To commit the murder, Derick Hernandez

recruited a 17-year-old male, Denzel Smith, who was interested in

joining the gang.          (T 2008, 2012-13, 2038-51).            At a meeting

attended by Osborne, Hernandez, Kurtis Philip and Smith prior to

the planned murder, Osborne told Smith that “when you hit him, you

got to leave him . . . he got to get left.”                  (T 2048).     Smith

understood this to mean that when he shot Gardner, Smith was to

make sure he was dead.         (T 2048, 2200).

              On October 13, 2012, Smith met Hernandez and Philip at

Hernandez’s home in Roosevelt, where they developed a plan to lure

Gardner out to kill him.            (T 2052-56).       Hernandez, Philip and

Smith, who was carrying a 9 mm pistol that had been provided by

Hernandez,11 proceeded to the Heights section of Hempstead, where


       11 A ballistics expert compared the shell casings recovered
from the Gardner attempted murder, the August 30, 2012 Crips
shooting of Bloods member Cornell Brown, and the March 21, 2012
Crips shooting, in which Crips member Jahmani Hamilton shot at
Bloods member Christopher Anderson, and concluded that the same
firearm was used in all three shootings.     (T 1437-39, 2016-22,
2184, 2530).
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                                                                              18

Gardner lived.         (T 2053, 2057-58).       There, Hernandez met Gardner

while Philip accompanied Smith to the location where Smith would

lie in wait. (T 2060-61).             As Hernandez and Gardner approached

Smith, Hernandez began to cross the street and Gardner began to

run.        Smith shot Gardner several times as Gardner attempted to

escape.       Gardner fell to the ground, while Smith and Hernandez

fled the scene in opposite directions.12             (T 2062-67).

               In the wake of the shooting, civilian eye witnesses

called 911 and members of law enforcement responded to the scene.

(T 1964-77).        Gardner remained conscious for a short time before

being transported by ambulance to a local hospital.                 (T 2236-37).

There,       Gardner   received    emergency    lifesaving     treatments   from

medical professionals to address the five gunshot wounds he had

sustained.       (T 1183-88).     Although Gardner ultimately survived, he

was left permanently paralyzed from his waist down.                 (T 1189-99).

After he awoke from a coma, Gardner told law enforcement officials

that he saw who had shot him and identified Osborne as the shooter.

(Mitchell ¶ 46).          Gardner maintained this mistaken belief for a

long time.       (A 166).




       12 Derick Hernandez was stopped by the Hempstead Police
Department in the vicinity of the shooting and arrested for
marijuana possession. (T 2242-45).
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                                                                          19

                  c.    Controlled Substances Offense:
                        Conspiracy To Distribute Narcotics

            The Roosevelt Rollin’ 60s’ drug business began with

Osborne’s formation of the gang in 2003.           Initially, the business

principally involved the sale of crack cocaine on Park Avenue in

Roosevelt (T     274-77) but later expanded to include sales of

marijuana, heroin and methylone (“molly”) (T 608-17).13            One of the

primary ways that gang members aided each other in narcotics

distribution was the commission of robberies of drug dealers to

obtain cash and narcotics, the latter of which would be sold for

profit.    For example, when Osborne returned from prison in the

Fall of 2010, he and members and associates of the Rollin 60s

committed a series of robberies of drug dealers in order to enrich

themselves quickly.14       (T 449-53, 455-63, 798, 838-42, 1012-13,

1154).



     13   For example, in early 2012, Osborne employed Rollin’ 60s
associate, Jeffrey Appiagyei, to cook the powder cocaine Osborne
brought him into crack and to “cut” or “stretch” and package the
raw heroin Osborne brought him for distribution.     (T 1635-39).
Appiagyei worked for Osborne continuously from the Spring of 2012
until Osborne’s arrest in April of 2013, ultimately turning out an
estimated 320 grams of crack cocaine and 600 grams of heroin for
Osborne to resell. (T 1671-72). Indeed, at the time of his arrest
on April 17, 2013, Osborne was in possession of more than 16 grams
of heroin, 7.75 grams of marihuana and 2.5 grams of methylone.
(T 64-66, 121-24). A portion of the heroin was packaged in 230
individual doses. (T 66, 122).
     14   Two of these robberies are discussed in more detail,
infra, at 21-23.
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                                                                               20

            In addition to obtaining narcotics through robberies,

Osborne and fellow gang members would assist one another in

acquiring narcotics from various suppliers.                   For example, on

several occasions, Osborne helped gang members and associates

obtain narcotics from his suppliers or simply supplied them with

drugs    himself.       (T    429-35,   901-02,    1010-11,     1124-48,   1154).

Similarly, if Osborne needed drugs to sell, members and associates

of the gang would supply him directly or assist him in obtaining

a supply from others.          (T 901-02, 1143-44).        In fact, gang rule

required members to keep the business within the gang (T 1407-08),

unless   the     gang   was   without   supply    (T   1536).      Moreover,   in

supplying fellow gang members, discount prices were the rule.

(T 1533-36).

            In    addition     to   supplying     drugs,   Rollin’   60s    Crips

members also covered transactions for one another by referring

sales to other gang members, including Osborne, when they did not

have sufficient drug supply, and serviced other members’ clients

if those members were incarcerated.             (T 1127-28, 1147).       Further,

gang members provided one another with security.                Indeed, members

knew that anyone seeking to interfere with their sales, by robbery

or otherwise, would face severe repercussions. (T 480, 616-17,

1078-79, 1446-47).
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                                                                            21

            Lastly, Rollin’ 60s members often shared drug profits,

by pooling proceeds to purchase firearms or to support gang members

financially.    For example, Halyard was wired proceeds from drug

transactions to purchase firearms for the gang from locations in

the South (T 365-67), while Reynaldo Hernandez and other Rollin’

60s members provided Osborne with money earned selling drugs to

assist Osborne in getting back on his feet after Osborne returned

from prison (T 1054).

                d.    Hobbs Act Robberies

            As noted above, the Rollin’ 60s Crips frequently robbed

drug dealers as a means of obtaining money and narcotics to sell.

                      i.    The “Trackside” Robbery

            In the Fall of 2010, Osborne approached Halyard, who,

like Osborne, had recently returned from prison and was in need of

money, with a plan to rob a drug dealer.            (T 449-50).        Shortly

thereafter, Osborne, Halyard, Eric Smith, Bryan Henry, and the

drug dealer’s cousin (who had provided the target) drove to the

Trackside neighborhood of Hempstead in Henry’s car.                (T 449).

There, Halyard and Smith, armed with firearms, proceeded to the

target’s apartment, where they robbed the drug dealer of 15 to 20

grams of crack cocaine, five grams of cocaine and $1,000.              (T 450-

52).   These proceeds later were divided among all participants,

with Osborne obtaining a portion of the drugs to sell.                 (T 452-

53, 798).
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                                                                             22

                        ii.   The “Fish” Robbery

            Also in the Fall of 2010, Osborne and Halyard, with the

aid of several other Rollin’ 60s members, committed a robbery of

a marijuana dealer known as “Fish.”           (T 455-56).      In this case,

it was Halyard who provided Osborne with information from two lower

level gang members, Kwame Lake and Terrell Dash, about a marijuana

supplier named “Fish” who might be a good robbery target.                (T 455-

57, 837).

            In anticipation of the robbery, Osborne and Halyard

began making small purchases of marijuana from Fish to establish

a trust relationship.15       Eventually, however, they ordered a much

larger quantity (several pounds) of marijuana that they intended

to rob.   (T 457-58).    On the day of the robbery, Reynaldo Hernandez

drove Osborne and Halyard to meet Fish.              Upon arrival, Halyard

entered Fish’s vehicle, and took possession of the drugs, at which

point Halyard displayed a firearm.           Osborne then pulled Fish out

of his car and hit him with the butt of a gun.               (T 459-60, 838-

841, 1012-13, 1154).          The proceeds of the robbery were later

distributed    among    the   participants,    including    Lake    and   Dash.




     15   The marijuana that was being purchased to build trust
with Fish was then resold by Osborne and Halyard, both of whom
were in need of money. (T 458-59).
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(T 461-463, 842, 1013).           Osborne and Halyard sold the marijuana

that was stolen during the robbery.16             (T 894).

             3.    Corroborating Evidence

             The     testimony     of    the     cooperating    witnesses     was

corroborated by, among other things, the testimony of various

federal and local law enforcement officers (see, e.g., T 60-95

(drugs dropped by Osborne), 170-94 (audio and video recording of

gun transactions), 933-1007 (recovery of handgun from Osborne),

1202-10 (surveillance video), 1570-74 (search-Crips graffiti),

1767-81 (search-recovered ammunition), 1697-71, 1726-33, 1740-49,

1749-67,     1981-95,        2307-42    (crime   scene   evidence),       1721-25,

(photographs),        1783-89     (motor       vehicle   records),    1791-1811

(Osborne’s        arrest),    2239-46     (Derick   Hernandez    stop);     audio

recordings of cell phone conversations and copies of text messages

intercepted via the wiretap of Osborne’s cell phone during the

early months of 2013 (see, e.g., T 138-69, 2273-94 (and government

exhibits)); social media postings and photographs demonstrating

the existence of the Rollin’ 60s Crips enterprise, the gang’s

structure, and Osborne’s position within the gang (see, e.g.,

T 264-65 (stipulation and government exhibits)); ShotSpotter audio


     16   Osborne, Reynaldo Hernandez and Rollin’ 60s members
“Sahiem” and “Juice” attempted another robbery of a drug dealer in
Suffolk County in 2012; however, Hernandez left prior to the
completion of the robbery and it was not successful, according to
Osborne. (T 1155-61).
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                                                                              24

recordings of gunfire from several shooting incidents (see, e.g.,

T 975-93 (and government exhibits)); and the testimony of several

expert    witnesses,    including      a   ballistics    expert    and   medical

doctors (see, e.g., T 29-59 (drug expert); T 97-138 (chemist);

T 1181-1202, 2299-2307 (medical); T 2481 (ballistics)).

     B.     Defense Case

            Defense counsel advised the district court that Osborne

was interested in calling one of the individuals — Derick Hernandez

— involved in the attempted murder of Gardner (T 2553-54) and the

two NCPD detectives — George Colby and John Mitchell — who were

most involved in that investigation (A 243-44) in his defense.

Ultimately, Osborne called no witnesses.                 Nor did he testify.

(T 2653-54).

     C.     Verdict

            On April 11, 2016, the jury convicted Osborne of all

counts of the indictment.        (T 3021-34).

III. Sentencing

            In   anticipation     of       sentencing,   the   United     States

Probation     Department     (“Probation”)        prepared     a   presentence

investigation report (“PSR”)17 indicating that Osborne’s total

offense level was 51 and the applicable range under the Sentencing


     17   The PSR and U.S. Probation Department Sentence
Recommendation (“Recommendation”) have been filed with the Court
under seal.
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                                                                         25

Guidelines was life imprisonment.        (PSR ¶¶ 160, 193).      This range

was arrived at by grouping of convictions (4.5 units) and applying

the greater of the adjusted offense levels for each of the numerous

counts of conviction (level 47).          (PSR ¶¶ 155-57).        Osborne’s

criminal history was VI (based upon a criminal history score of 15

given Osborne’s numerous prior crimes).         (PSR ¶ 169).

          Probation    recommended     concurrent     life   sentences   on

Counts One, Two, and Eighteen; 240 months (concurrent to each other

and to all other counts) on Counts Three, Four, Six, Seven, Ten,

Eleven and Sixteen; 120 months (concurrent to each other and to

all other counts) on Counts Nine, Fifteen, Twenty and Twenty-One;

360 months (concurrent to each other and to all other counts) on

Counts Twelve and Thirteen; 60 months (consecutive to all other

counts) on Count Nineteen; and 300 months (consecutive to each

other and to all other counts) on Counts Five, Eight, Fourteen and

Seventeen.   (Recommendation at 1).

          At the January 13, 2017 sentencing hearing, the district

noted that there had been no objections by either party to the

findings in the PSR.        (A 280).       The government misspoke in

representing that, in addition to the life sentences Osborne faced

on Counts One, Two and Eighteen, he also faced an additional 115

years’ imprisonment on the remaining counts.            (A 281, 283).    In
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                                                                       26

reality, the government’s position supported three life sentences,

to be followed by 135 years’ imprisonment.

          The district court imposed consecutive life sentences on

Counts One, Two and Eighteen.      (A 290).    It also imposed statutory

maximum concurrent sentences of 20 years on Counts Three, Four,

Six, Seven, Ten, Eleven and Sixteen.          (Id.).    The court further

imposed concurrent statutory maximum sentences of ten years on

Counts Nine, Fifteen, Twenty and Twenty-One, and statutory maximum

sentences of 30 years on Counts Twelve and Thirteen, to run

concurrently with each other but consecutively to all other counts.

(A 290-91).     Finally, the court imposed a statutory minimum

consecutive sentence of five years on Count Nineteen, to be

followed by mandatory consecutive sentences of 25 years on Counts

Five, Eight, Fourteen and Seventeen.        (A 291-92).
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                                                                               27

                                   ARGUMENT

                                  POINT ONE

                   THE EVIDENCE WAS SUFFICIENT TO
           CONVICT OSBORNE OF RACKETEERING, RACKETEERING
         CONSPIRACY, VIOLENT CRIMES IN AID OF RACKETEERING,
         AND CONSPIRACY TO DISTRIBUTE CONTROLLED SUBSTANCES

            Osborne contends that the evidence was insufficient to

support five of the six racketeering predicate acts that supported

his conviction for racketeering and racketeering conspiracy, as

well as the substantive counts related to those racketeering acts.

(Br.   35-36).      Specifically,      Osborne    argues    that    there    was

insufficient evidence to support an agreement by Osborne and others

to distribute controlled substances as is described in Count

Eighteen and Count One (Racketeering Act Six).                  (Br. 37-39).

Osborne also contends that there was insufficient evidence to

establish that the Hobbs Act robberies outlined in the indictment

were related to the activities of the gang.          (Br. 39-41).        Finally,

Osborne argues that the evidence was insufficient to demonstrate

that he attempted to murder and assault Johnny Green or that he

conspired to murder and assault rival gang members.                (Br. 41-46).

            These claims are all unavailing.

I.     Legal Standard

            It is well established that a defendant challenging the

sufficiency of the evidence “bears a heavy burden, as the standard

of review is exceedingly deferential.”            United States v. Brock,
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                                                                             28

789 F.3d 60, 63 (2d Cir. 2015) (citation and internal quotation

marks omitted).    Indeed, a jury verdict must be upheld if “‘any

rational trier of fact could have found the essential elements of

the crime beyond a reasonable doubt.’”             See United States v.

Autori, 212 F.3d 105, 114 (2d Cir. 2000) (quoting Jackson v.

Virginia, 443 U.S. 307, 319 (1979) (emphasis in Jackson)).

          Moreover,     in   considering     the    sufficiency        of   the

evidence, a reviewing court must analyze pieces of evidence “not

in isolation but in conjunction,” see United States v. Miller, 116

F.3d 641, 676 (2d Cir. 1997); see also United States v. Reifler,

446 F.3d 65, 94-95 (2d Cir. 2006).              Furthermore, “‘to avoid

usurping the role of the jury,’” Autori, 212 F.3d at 114 (quoting

United States v. Guadagna, 183 F.3d 122, 129 (2d Cir. 1999)), the

court must resolve all issues of credibility in favor of the jury’s

verdict, see, e.g., United States v. Jackson, 345 F.3d 59, 65 (2d

Cir. 2003), and “‘credit[] every inference that the jury might

have drawn in favor of the government,’” United States v. Temple,

447 F.3d 130, 136-37 (2d Cir. 2006) (quoting United States v.

Walker, 191 F.3d 326, 333 (2d Cir. 1999)).
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                                                                               29

II.    The Evidence Was Sufficient

       A.     The Evidence Established That Osborne Conspired
              With Others, Including Gang Members, To Distribute
              Controlled Substances (Count One, Racketeering Act
              Six; Count Eighteen)18

              In the context of a conspiracy conviction, i.e., where

the government must prove that “two or more persons entered into

a joint enterprise for an unlawful purpose,” United States v.

Torres, 604 F.3d 58, 65 (2d Cir. 2010), the deference accorded the

verdict is especially important.           This is “because a conspiracy by

its very nature is a secretive operation, and it is a rare case

where all aspects of a conspiracy can be laid bare in court with

the precision of a surgeon’s scalpel.”             United States v. Jackson,

335 F.3d 170, 180 (2d Cir. 2003) (internal quotation marks and

citations omitted).          Indeed, the government is not required to

show    “proof    of   an   explicit    agreement     but   can   [establish   a

conspiracy] by showing that the parties [had] a tacit understanding

to carry out the prohibited conduct.”              See Thomas v. Roach, 165

F.3d 137, 146 (2d Cir. 1999); see also United States v. Rea, 958

F.2d 1206, 1214 (2d Cir. 1992).          Nor is the government required to

show that the defendant knew all of the members of the conspiracy,

or all of its details, as long as it shows that the defendant knew



       18 Other substantive counts are impacted by Osborne’s
argument (see, e.g., Count Nineteen, which references the use of
a firearm in connection with a narcotics crime).
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                                                                              30

of the conspiracy’s “general nature and extent.” See United States

v. Huezo, 546 F.3d 174, 180 (2d Cir. 2008) (citation and internal

quotation marks omitted).       Finally, although the government must

offer evidence of the defendant’s “purposeful behavior aimed at

furthering the goals of the conspiracy,” see United States v.

Chavez, 549 F.3d 119, 125 (2d Cir. 2008) (internal quotation marks

and citation omitted), “[t]he size of the defendant’s role does

not determine whether that person may be convicted of conspiracy

charges,” United States v. Vanwort, 887 F.2d 375, 386 (2d Cir.

1989).    “Rather, what is important is whether the defendant

willfully participated in the activities of the conspiracy with

knowledge of its illegal ends.”        Id.

           Here,    Osborne     contends     that    while    the       evidence

established that he may have possessed or distributed controlled

substances, there was no evidence that he agreed with others,

including gang members, to do so.        (Br. 37-39).     Putting aside the

fact that the language in the affected counts does not require

Osborne to conspire with anyone in particular (A 25, 32-33), the

evidence was more than sufficient to show not only that Osborne

conspired to traffic in drugs but that he did so with and for the

benefit of fellow gang members.

           First,   Jeffrey Appiagyei        testified that he assisted

Osborne in his drug trafficking from early 2012 until Osborne’s
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                                                                              31

arrest in April of 2013.           Specifically, Osborne began to sell

powder    cocaine   and    crack   cocaine     to   Appiagyei    knowing    that

Appiagyei would, in turn, resell those drugs.                   (GA 252).     In

addition to agreeing to sell narcotics to Appiagyei for resale,

Osborne also enlisted Appiagyei to cook powder cocaine into crack

cocaine for Osborne, himself, to sell.                (GA 253).      Appiagyei

estimated that he was cooking between 8 to 15 grams of crack

cocaine every week for Osborne for this purpose.                (GA 255, 256-

57).

            Appiagyei further testified that by the Summer of 2012,

he began to process, or “stretch,” and package heroin for Osborne.

(GA 256).    Osborne would bring Appiagyei about 10 grams of heroin

a week, to which Appiagyei added other substances, both reducing

the potency and increasing the quantity.            Eventually, Osborne even

began packaging his own heroin at Appiagyei’s residence.                 (GA 256-

57).

            Appiagyei also testified that Osborne supplied him with

heroin, which Appiagyei resold.         (GA 257).

            Second, Reynaldo Hernandez testified that he agreed with

Osborne     on   several    occasions     to    distribute      cocaine    base.

Specifically, Hernandez testified that he and Osborne pooled their

money to purchase crack cocaine from a supplier in Brooklyn.

(GA 193, 214-15).         Crips member Lobban drove them to Brooklyn,
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                                                                               32

where they purchased approximately 40 grams of crack, which they

later resold.      (Id.).    Hernandez additionally testified that he

witnessed Osborne purchase distribution quantities of narcotics

from his supplier, and he also saw Osborne selling narcotics to

individuals who were going to resell those narcotics.                 (GA 216,

217).     Hernandez further explained that on many occasions, he

discussed Osborne’s drug trafficking operation with Osborne, and

he witnessed Osborne selling crack, heroin, molly and marijuana.

(GA 215-19).

            Third, Robinson testified that he regularly purchased

marijuana from Osborne, which Robinson later resold.                (GA 229).

He also testified that Osborne tried to recruit him to sell crack

and methylone for him.       (GA 246-47).

            Fourth, Halyard, a member of Osborne’s gang for a decade,

testified about Osborne and senior Rollin’ 60s members giving him

his start in the crack cocaine business as early as 2003.                (GA 86-

87).    Halyard further detailed the various substances that Osborne

had sold over the years.        (GA 97, 98-96, 124, 125-27).

            Fifth,   at   the   time   of   his   arrest,   Osborne      was   in

possession of a quantity of heroin and methylone that a narcotics

expert testified was consistent with distribution, rather than

personal use.     (GA 69-70, 71-72, 73-78, 279); GX 59, 343).             Given

that the same expert testified that heroin and methylone are not
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                                                                               33

manufactured in the United States (GA 67), Osborne must have

acquired these distribution quantities from someone else, namely,

his drug supplier, with the intent to distribute these narcotics.

            Sixth, cell phone calls and text messages from Osborne

demonstrated that Osborne agreed with others, including fellow

gang members, to distribute narcotics.            (GA 79-82, 128-60, 223-

24, 257-62; GX 104, 105, 206, 206A).          For example, the jury heard

several   cell    phone   conversations     between    and   among       Osborne,

Appiagyei,    and   Appiagyei’s     brother    Alex,    during    which     they

discussed the purchase and sale of cocaine, heroin, marijuana, and

drug   processing      and    packaging     materials.         (GA       257-60).

Additionally, Osborne enlisted Crips associate Antonio Baker to

sell some low-grade marijuana for him, discussed selling crack

cocaine to Crips member “YP” for resale, and spoke to Crips member

Gary Mosley’s father about a heroin supplier who was selling high

quality heroin.       (GA 128-29, 135-36, 137, 141-42, 142-43, 143,

147-48, 154).

            In short, Osborne’s argument that his drug trafficking

operation represented nothing more than the simple “buy-seller”

exception (Br. 37-39) (citing United States v. Hawkins, 547 F.3d

66, 72 (2d Cir. 2008)), is wholly without merit.                 (Br. 37-39).

Not only is this “exception” limited, but it does not apply here,

where “there is ‘additional evidence showing an agreement to join
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                                                                                34

together to accomplish an objective beyond the sale transaction.’”

United States v. Parker, 554 F.3d 230, 237 (2d Cir. 2009) (quoting

Hawkins, 547 F.3d at 72).19

              The evidence also was more than sufficient to show that

Osborne not only agreed with fellow gang members to distribute

narcotics but that his drug dealing both benefitted the gang and

was facilitated by the gang.20

              Halyard, Reynaldo Hernandez, and Robinson all testified

about the gang’s involvement in narcotics trafficking.                     Indeed,

Halyard testified that Osborne and senior Rollin’ 60s members gave

him his start in the crack cocaine business as early as 2003.

(GA 86-87).       Halyard also stated that Osborne, himself, trafficked

in multiple types of narcotics (GA 125-27), supplying many other

gang    members    with   his   own   drugs   or   providing    them   with   the

assistance of his own suppliers (GA 98-99, 181-82, 193, 213-19,

221, 233-34).         Halyard and Hernandez, in turn, also provided



       19 Although there is no hard and fast list of factors for
determining when the buyer-seller relationship ripens into a
conspiracy,   this   Court  has   identified   several   relevant
consideration, including “whether there was prolonged cooperation
between the parties, a level of mutual trust, standardized
dealings, sales on credit, and the quantity of drugs involved.””
Hawkins, 547 F.3d at 74 (citation and internal quotation marks
omitted). See also United States v. Wexler, 522 F.3d 194, 211 (2d
Cir. 2008) (Raggi, J. concurring in part and dissenting in part).
       20 To   the  extent   Osborne’s  argument   is  really                    a
“relatedness” argument, see the discussion, infra, at 36-37.
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                                                                                 35

examples of reverse transactions, in which gang members supplied

Osborne with drugs or otherwise assisted him in his efforts to

find supply.      (GA 181-82, 218).        Indeed, Hernandez explained that

gang members even provided Osborne with drug proceeds to help him

get back on his feet when he returned home from prison.                (GA 201).

Robinson explained that Osborne gave gang members discount prices

on drugs.     (GA 245).

             The effort to keep supply flowing among gang members was

also helped by gang members’ robberies of drug dealers.                    (GA 100-

03, 168, 171-73, 180, 193, 221).           Further, Osborne and fellow gang

members’ drug dealings benefitted from the security of gang self-

dealing,     particularly     in   light    of    the   gang’s     rules   against

cooperation      with   law   enforcement;        members   also    enjoyed    the

security of knowing that rival drug dealers would leave them alone

given the fear the gang instilled.                (GA 105, 127, 207, 213-14,

234).   Clearly, being a member of the Rollin’ 60s helped Osborne

and his fellow gang members sell drugs.

             Osborne’s drug dealing and the drug dealing of his

members also benefitted the gang.                Osborne and his fellow drug

dealing gang members used money they made from selling drugs to

purchase firearms that were then used to control their territory

and to win their ongoing war with the Roosevelt Bloods.                    (GA 90,

145, 151, 196, 200-01, 202-03, 231, 311).               Their drug trafficking
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                                                                             36

also made them more appealing to prospective recruits.               As Denzell

Smith testified, when considering whether to join the Bloods or

the Crips, young people were drawn to the gang whose members had

a lot of “money, females, power and respect in the neighborhood.”

(GA 291-92).      In short, the Rollin’ 60s needed to enrich its

members to survive.

     B.     The Evidence Established That The “Trackside”
            And “Fish” Robberies Were Related To The Affairs
            Of The Enterprise (Count One, Racketeering Acts
            Two And Three)

            Osborne also argues that the evidence was insufficient

to establish that the robberies of drug dealers (“Trackside” and

“Fish”) were related to the affairs of the gang.                   (Br. 39-41).

This argument, too, is belied by the evidence.

            To establish a pattern of racketeering activity, the

government    must   prove   that    the   criminal   acts    it    claims   are

racketeering acts are related and pose a threat of continued

criminal activity.       H.J. Inc. v. Northwestern Bell Tel. Co., 492

U.S. 229, 239 (1989).          Further, to satisfy the “relatedness”

requirement, racketeering acts must not only be “related to each

other (‘horizontal’ relatedness),” “they must be related to the

enterprise (‘vertical’ relatedness).”          United States v. Minicone,

960 F.2d 1099, 1106 (2d Cir. 1992).          Vertical relatedness “may be

established by evidence that the defendant was ‘enabled to commit

the predicate offenses solely by virtue of his position in the
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                                                                               37

enterprise or involvement in or control over the affairs of the

enterprise,’ or that ‘the predicate offenses are related to the

activities of that enterprise.’”              Id. (quoting United States v.

Robilotto, 828 F.2d 940, 947-48 (2d Cir. 1987) (internal quotation

marks and emphasis omitted)).            However, “it is not necessary that

the offense be in furtherance of the enterprise’s activities for

the offense to be related to the activities of the enterprise.”

United States v. Bruno, 383 F.3d 65, 84 (2d Cir. 2004) (citing

Miller, 116 F.3d at 676).          Indeed, this Court has noted that “[t]he

question of whether acts form a pattern is ‘rarely a problem with

a criminal enterprise, as distinct from a lawful enterprise that

commits occasional criminal acts.’”             United States v. Vernace, 811

F.3d 609, 617 (2d Cir. 2016), cert. denied, 137 S. Ct. 691 (2017),

quoting   Minicone,     960    F.2d      at   1108)   (citation   and    internal

quotation marks omitted).

            Here, the evidence firmly established that the robberies

of the drug dealer at Trackside and the drug dealer named Fish

were related to the enterprise.           Not only did the robberies enrich

core members of the enterprise, including Osborne, see United

States v. Payne, 591 F.3d 46, 64-65 (2d Cir. 2010) (robberies that

enrich    core   members      of    an    enterprise    are   related    to   the

enterprise), but the robberies also furthered the drug-related

activities of the enterprise.
           Case 17-171, Document 70, 02/21/2018, 2239726, Page51 of 125


                                                                               38

               As to the first of these robberies – Trackside, the

proceeds (several grams of crack cocaine, powder cocaine and

approximately $1,500 in cash) were divided among the participants

(Osborne, Halyard, Bryan Henry and Eric Smith), all of whom were

gang members.      (GA 95, 96, 97, 108).        Halyard also sold his drug

proceeds, noting that it was likely that Osborne sold his as well,

as   Halyard    never     knew   Osborne   to   use   any   drugs   other   than

marijuana.     (GA 100-01).

             Similarly, after the Fish robbery, the proceeds were

divided among the participants, including Osborne, Halyard and

Hernandez, with Osborne and Halyard receiving the bulk of the

proceeds, which were destined to be sold.              (GA 103, 193).       Kwame

Lake and Terrell Dash, two lower level gang members, also were

given marijuana from the robbery for having provided Halyard with

the target.      (Id.).

             Finally, since participation in such robberies could

form the basis of promotion in the gang (GA 88, 197, 200, 230),

either of the robberies could have resulted in the enhanced status

of any of the participants.

      C.     The Evidence Was Sufficient To
             Convict Osborne Of The Attempted
             Murder And Assault Of Johnny Green
             (Count One, Racketeering Act Five;
             Counts Fifteen, Sixteen, and Seventeen)

             Osborne contends that the evidence was insufficient to

prove his participation in the January 30, 2013 shooting of Bloods
           Case 17-171, Document 70, 02/21/2018, 2239726, Page52 of 125


                                                                            39

member Johnny Green.           Specifically, he claims that Halyard’s

rendition of Osborne’s admission in connection with the shooting

was too confusing to prove Osborne’s involvement.                (Br. 41-42).

He further contends that Halyard had every reason to attempt to

curry favor with the government given the crimes that he himself

had committed.      (Br. 43).     This claim, too, is unavailing.

             Here, there was ample evidence to find that Osborne

participated in the attempted murder and assault of Green. Halyard

testified that Derrick Hernandez warned him to be careful because

there had been a recent shooting of a Bloods member.                 (GA 123).

After that conversation, Halyard went to Osborne’s house, where

Osborne admitted that “him and Frank just shot up a guy named Fat

Johnny.”     (Id.).21   Osborne also told Halyard that the shooting had




     21   Osborne argues that the tense of one of Halyard’s cross-
examination responses — “we have to go over there and light up Fat
Johnny” — renders it unclear whether the conversation occurred
before or after the shooting. (Br. 41-42). In context, however,
it is clear that the word “have” is simply a typographical or other
error:

             Q:   On a prior occasion it was your testimony
                  that Mr. Osborne made a comment that
                  suggested he was present when at Pleasant
                  at the time of the Fat Johnny shooting?

             A:   Correct.

             Q:   Exactly what were his words?

             A:   He said, you know, we have to go over
                  there and light up Fat Johnny. I asked
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                                                                           40

occurred on “Pleasant” and that a “forty and the 4-pound” (id.)

were used to commit it, facts later corroborated by the police

investigation and an eyewitness who was on Pleasant Avenue at the

time of the shooting (GA 185-87, 188, 189-92).

             In addition to Halyard’s testimony, Jose Bonifacio, a

resident of Pleasant Avenue, testified that he saw a “silver or

champagne” Chevy with the numbers “1” and “1” in a yellow New York

license plate drive down the block at the time of the shooting on

January 30, 2013.         Bonifacio further testified that he heard

several “pop” sounds followed by screams of “I got shot.” (GA 185-

87).    Gerard Harrison of the New York State DMV explained that

Monet Smith was the owner of a 2002 silver Chevy Impala with the

yellow New York license plate “FXZ 1139” on January 30, 2013.

(GA 278).        Reynaldo Hernandez testified that Monet Smith was

Lobban’s girlfriend and the mother of Lobban’s child, as well as

the car’s owner.       (GA 219-20). Halyard also identified a DMV photo

of the registered owner of a silver Impala as Lobban’s girlfriend.

(GA    123-24;    GX   278).   Additionally,     Detective    George    Colby

testified that on March 2, 2013, he stopped Lobban in the silver




                   him what guns were used and he said the
                   40 and the 4-pound.

(GA 175).
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                                                                                 41

Chevy     Impala   and   arrested22       him   for    marijuana     possession.23

(GA 321-23).

     D.      The Evidence Was Sufficient To Establish
             Osborne’s Membership In The Conspiracy
             to Murder And Assault Rival Gang Members
             (Count One, Racketeering Act One; Count Twenty)

             Osborne argues that the evidence was insufficient to

show that he conspired to kill or assault Bloods gang members

during the period identified in the indictment - January 2005

through April 2013.           Specifically, he claims that the proof

underlying these convictions, namely, Osborne’s enactment of the

“on sight rule,” his ordering of McClenic’s murder,                        and his

numerous     personal    attempts    to    shoot      or   kill   Bloods   did   not

constitute the kind of specific intent required to prove murder




     22   Halyard further testified that Osborne had defended
Lobban’s attempt to escape arrest in connection with this incident
to the gang, claiming that it was not fear of arrest on a small
amount of marijuana that motivated Lobban’s run. Instead, Lobban
was concerned because he and Osborne had overheard police radio
reports identifying the car at the time of Green’s shooting.
(GA 123-24).
     23   In addition to the evidence regarding the shooting,
Robinson testified regarding a related incident from the Summer of
2012.   Robinson explained that he had observed Bloods members
Johnny Green, Jermaine Green, “JR” and others in a Roosevelt deli.
Robinson, who was unarmed at the time, reached out to fellow
Rollin’ 60s members to obtain a firearm. Robinson detailed how
Osborne himself arrived at the deli armed and prepared to shoot
the Bloods, who had left shortly before Osborne’s arrival.
(GA 236-37, 240-42).
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                                                                                 42

under New York State law.           (Br. 43-46).       These claims, too, are

unavailing.

            New York Penal Law § 105.15 states that a person is

guilty of conspiracy to murder when, with the intent that conduct

constituting a Class A felony, such as murder, be performed, he

agrees    with    one   or   more   persons   to   engage     in   or   cause   the

performance of such conduct.          New York Penal Law § 125.25(1), in

turn, provides that a person is guilty of murder when, with the

intent to cause the death of another person, he causes the death

of such person.

            New York Penal Law § 105.05 states that a person is

guilty of conspiracy to assault when, with the intent that such a

felony be performed, he agrees with one or more persons to engage

in or cause the performance of such conduct.                  A person commits

assault    with    a    dangerous   weapon,    under    New    York     Penal   Law

§ 120.05(2), when, with the intent to cause physical injury to

another, he causes such injury to such person or to a third person

by means of a deadly weapon or dangerous instrument.

            Here, the evidence demonstrating the existence of an

agreement between the gang’s members and Osborne, as well as

Osborne’s active participation in the conspiracy was overwhelming.

For example, every Rollin’ 60s cooperating witness testified that

the Rollin’ 60s Crips were at war with the Roosevelt Bloods and
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were required to inflict the maximum possible damage upon rival

Bloods gang members by the use of weapons and firearms when

possible, with the goal of injuring and killing rivals.                  (GA 105,

177-78, 197, 231-32, 239).        The evidence was also clear that this

edict came from Osborne.        (GA 106, 107, 197).

              Osborne nevertheless contends that the testimony of

several   gang   members    demonstrates     that   even   if   it   could    be

demonstrated that he played a role in instituting the “on sight

rule,” the rule itself fails to satisfy the requirements of New

York State law because the rule did not absolutely require that

Bloods members be killed or assaulted.          (Br. 43-45) (citing People

v. Ozarowski, 38 N.Y.2d 481, 489 (1976) (stating that to be guilty

of conspiracy defendant must have the specific intent to commit

the underlying offense)). However, the fact that members may have,

on occasion, failed to abide by the rule — often for reasons

related to the presence of police or other deterrents to crime24 —

does not erase the rule’s existence or the fact that the trial

evidence clearly demonstrated that the rule was often invoked.

Indeed, the jury was presented with numerous examples of shootings,

assaults and murders, all of which were committed pursuant to the



     24   Halyard, Hernandez, and Robinson all explained that the
“on sight rule” and attacks on rivals were subject to common sense,
and that you would not attack a rival if there were potential
witnesses or police in the area. (GA 178, 202, 239, 244).
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                                                                                44

“on sight rule.”       (GA 106, 108-09, 107, 108, 110, 111, 112-13,

206, 227, 231-32, 243-44, 292, 293-94, 295-97, 308, 312).

             Osborne also encouraged the application of the rule by

providing    weapons   (GA   91-2,   176,   196,   202-04,       231),   and    by

enhancing members’ positions in the gang based upon their resort

to such violence (GA 110, 197, 199, 239).

             In addition to the “on sight rule,” the conspiracy was

evidenced by the fact that Osborne, himself, participated in

incidents of violence directed at rivals.               For example, Osborne

quickly responded to Robinson’s call for a gun to shoot Bloods in

a neighborhood deli (see GA 236-37, 240-42), participated in the

shooting of Johnny Green, whose only “crime” was his Bloods

membership (GA 175), and the attempted shooting of King Carter

(GA 93-94,     106),   any   of   which   incidents      could    support      his

conviction for conspiracy to murder and to commit other acts of

violence.

             Beyond that, the government proved that Osborne ordered

the killing of Bloods member McClenic.          (GA 113, 114, 161-65, 200,

204,   209).     While   Osborne     contends    that    the     proof   of    his

involvement in the McClenic murder was wanting (Br. 45-46), that

contention is belied by the evidence.            The government presented

ample proof that in the Fall of 2010, Osborne ordered the murder

of McClenic, who had been assaulting Rollins’ 60s gang members
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                                                                                45

while Osborne was in prison.           (GA 113-15, 114, 161-65, 183, 200,

204, 209).      McClenic was subsequently located by members of the

gang, who provided his location to Crips members, including Lobban,

Bryan Henry, and Eric Smith, the last of whom actually shot and

killed McClenic.       (GA 114, 165, 209).

             Further, in the wake of the murder, after having himself

been retaliated against, Osborne ordered the shootings of the homes

of Bloods gang members, including McClenic’s.                    (GA 115-18, 211-

12).   While Osborne argues that ordering the shooting of a home

does not show an intent to murder or assault (Br. 46), a rational

jury could infer that murder is exactly what Osborne intended when

he ordered a shooting into an occupied residence by multiple gang

members.      (GA 174).     These shootings involved the use of three

firearms (a revolver, a .45 caliber pistol, and a 9 mm Mac-10 style

sub-machinegun), and in each instance, dozens of shots were fired.

Bullets penetrated these homes, ripping through bedrooms, living

rooms, and hallways.        (GA 174, 211-12, 264-68, 270-74, 327-34).

                                  *     *         *

             Accordingly,     because       the       evidence   was   more   than

sufficient      to   demonstrate      Osborne’s        agreement    with   others,

including gang members, to traffic in drugs, and because the proof

also was more than sufficient to show his participation in the
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                                                                       46

various crimes of violence that were related to the Rollin’ 60s

Crips enterprise, his sufficiency challenge should be denied.
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                                      POINT TWO

              THE DISCOURT COURT CORRECTLY FOUND THAT THE
               GOVERNMENT’S RACE NEUTRAL EXPLANATION FOR
              STRIKING JUROR NUMBER 25 WAS NOT PRETEXTUAL

             Osborne also argues that this Court should reverse his

convictions        and   order    a   new    trial   because    the    government

purportedly improperly struck a juror based on race, in violation

of   the   Fourteenth      Amendment.        (Br.    47-49).    This    claim   is

meritless.

I.    Factual Background

             On March 8, 2016, the parties appeared before United

States District Judge Joanna Seybert for jury selection.                  (GA 59).

Beginning on March 8 and continuing on March 9, Judge Seybert

selected the first 28 qualified jurors as the pool from which the

final 12 jurors would be chosen.              Osborne was provided with ten

peremptory challenges; the government was provided with six.25

(A 211-16).

             The     government       used   four    of   its   six    peremptory

challenges to strike African-American jurors: Jurors 23, 10, 22

and 25.      Following the first three of these strikes, defense

counsel argued that a prima facie case of discrimination had been


      25  On March 10, 2018, Judge Seybert selected the first 12
qualified jurors as the pool from which six alternate jurors would
be selected.   Osborne and the government were each given three
challenges.   (GA 62, 63-65).    Osborne raises no claims in his
appeal regarding the selection of the six alternate jurors.
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established, thus requiring the government to articulate race-

neutral reasons for its strikes.              (A 212-13).       The government

offered, and the district court accepted, the race-neutral reasons

for the government’s strikes, noting that “[the]panel has been,

probably over half have been African-Americans if not more.”26

(A 211-16).

              After the government struck Juror 25, defense counsel

again raised a Batson challenge, and the government again proffered

race-neutral reasons for its strike.            (A 216).     Specifically, the

government noted that Juror 25 had stated during voir dire that

her “older brother had a drug problem” and had been arrested.27

(A 216 (citing A 201)). The district court again denied the Batson

challenge and excused Juror 25.           (A 217).

II.    The Applicable Law

       A.     The Batson Ruling

              The Supreme Court has held that the government’s use of

peremptory challenges to strike potential jurors because of their

race    violates     the   Equal   Protection    Clause    of   the   Fourteenth


       26 Osborne does not argue that the removal of any of these
jurors violated the Fourteenth Amendment or that the government
offered a pretextual reason for striking them.
       27 In response to these statements, the district court
inquired whether there was anything about the way her brother had
been treated by law enforcement that would cause Juror 25 a problem
in the instant case, to which she replied, “[n]ot to my knowledge.
He was much older so he really was like involved.” (A 201-02).
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Amendment. See Batson v. Kentucky, 476 U.S. 79 (1986).             The ruling

in Batson has been extended to, among other things, peremptory

challenges based on gender.         J.E.B. v. Alabama ex rel. T.B., 511

U.S. 127 (1994); see also United States v. Martinez, 621 F.3d 101,

107-08    (2d   Cir.   2010)   (defendant    may   not   make    gender-based

strikes).

     B.     Procedures Under Batson

            Batson and its progeny outline a three-part process by

which challenges to peremptory strikes are analyzed.              See Batson,

476 U.S. at 96-98.        First, the party alleging a discriminatory

strike must make a prima facie showing that the other party has

exercised peremptory challenges on the basis of race, gender or

another cognizable factor. If the requisite showing has been made,

the burden then shifts to the non-moving party to articulate a

neutral explanation for striking the jurors in question.                 Finally,

the presiding judge must determine whether the moving party has

carried his or her burden of proving purposeful discrimination.

See, e.g., Hernandez v. New York, 500 U.S. 352, 358-59 (1991);

United States v. Diaz, 176 F.3d 52, 76 (2d Cir. 1999).

            With respect to the second step in the analysis, the

Supreme Court has held that “[i]n evaluating the race neutrality

of an attorney’s explanation, a court must determine whether,

assuming the proffered reasons for the peremptory challenges are

true, the challenges violate the Equal Protection Clause as a
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matter    of    law.”     Hernandez,     500    U.S.    at   359.    A     “neutral”

explanation means “an explanation based on something other than

the race of the juror.”          Id. at 360.       “At this [second] step of

the inquiry, the issue is the facial validity of the [attorney’s]

explanation.       Unless a discriminatory intent is inherent in the

[attorney’s] explanation, the reason offered will be deemed race

neutral.”       Id.; see also Purkett v. Elem., 514 U.S. 765, 767-68

(1995).         Furthermore,     a    neutral     explanation       need    not    be

“persuasive, or even plausible” for the non-movant to meet his

obligation and advance the inquiry to the third step.                    Purkett v.

Elem., 514 U.S. at 767-68.

               With respect to the third step in the Batson analysis,

“the movant must satisfy his or her burden of persuasion and prove

intentional race discrimination.”               Barnes v. Anderson, 202 F.3d

150, 156 (2d Cir. 1999).             Deciding whether a movant has met his

burden    “compels      courts   to    determine       the   credibility     of   the

proffered explanations.”             Id. (internal citation and quotation

marks omitted).

     C.        The Standard Of Review

               The presiding judge’s evaluation of whether a proffered

explanation is pretextual is reviewed for clear error and is

entitled to “great deference.” Hernandez, 500 U.S. at 369; Barnes,

202 F.3d at 156; United States v. Franklyn, 157 F.3d 90, 97 (2d
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Cir. 1998). This deference makes “particular sense” in the context

of Batson challenges:

           Deference to trial court findings on the issue
           of discriminatory intent makes particular
           sense in this context because, as we noted in
           Batson, the finding largely will turn on
           evaluation of credibility.     In the typical
           peremptory challenge inquiry, the decisive
           question will be whether counsel’s race-
           neutral explanation for a peremptory challenge
           should be believed. There will seldom be much
           evidence bearing on that issue, and the best
           evidence often will be the demeanor of the
           attorney who exercises the challenge. As with
           the state of mind of a juror, evaluation of
           the prosecutor’s state of mind based on
           demeanor and credibility lies peculiarly
           within a trial judge’s province.

Hernandez, 500 U.S. at 365 (internal citations and quotation marks

omitted); see also McKinney v. Artuz, 326 F.3d 87, 100-01 (2d Cir.

2003).   Thus,   in   the   absence   of   “exceptional     circumstances,”

appellate courts defer to the trial court’s factual findings.

Hernandez, 500 U.S. at 366.

III. The District Court’s Finding That The
     Government’s Race-Neutral Explanation
     Was Not Pretextual Was Not Clearly Erroneous

           Osborne does not question the facial validity of the

government’s reasons for striking Juror 25, nor does he contend

that they were inherently discriminatory.          (Br. 49).     Indeed, the

government informed the district court that it had struck Juror 25

because her brother had a drug problem that had led to a prior
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arrest (A 216-17), a sufficiently race-neutral reason for the

strike.    See Hernandez, 500 U.S. at 359-60.

            Osborne    nonetheless     contends    that    the    government’s

proffered    justification      for    striking    Juror     25   was     merely

pretextual, alleging that the government had failed to strike two

non-African American jurors – Juror 14 and Alternate Juror 1 — who

had provided similar background information.              (Br. 49).      But this

contention is based on a misreading of the facts.                 While it is

true that Juror 14’s brother also had been caught trafficking

drugs, Juror 14 had been excused on the consent of both parties

for reasons related to financial hardship prior to any “for cause”

challenges from either party.          (A 197-198; GA 60).        Further, it

was not Alternate Juror 1’s brother, but a more distant uncle, who

had been arrested on drug charges.            (A 208-09).     Moreover, both

Alternate Juror 1’s father and uncle were former New York City

Police Department officers (A 209), thus providing an additional

rationale for the government’s choosing not to strike Alternate

Juror 1 from the jury.        Indeed, Alternate Juror 1 ultimately was

stricken by Osborne himself in the alternate rounds.               (GA 63).

            Accordingly,     because    the   government     provided     sound,

race-neutral reasons for its strike of Juror 25, and because these

reasons were not pretextual, Osborne’s Batson claim should be

denied.
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                                     POINT THREE

          THE DISTRICT COURT PROPERLY INSTRUCTED THE JURY
          REGARDING THE APPLICATION OF PINKERTON LIABILITY

            Osborne argues, for the first time on appeal, that this

Court should reverse his convictions on Count Ten, the attempted

murder of Maurice Gardner, and Count Eleven, the related assault

with a dangerous weapon, both violations of 18 U.S.C. 1959(a) (the

Violent Crimes In Aid of Racketeering or “VICAR” statute), because

the district court purportedly erroneously instructed the jury

that it could apply Pinkerton liability in reaching its decision.

(Br. 50-58).       This argument, too, is unavailing.

I.   Applicable Law

     A.     The Standard Of Review

            “[A] jury instruction is erroneous if it misleads the

jury as to the correct legal standard or does not adequately inform

the jury on the law.”         United States v. Bok, 156 F.3d 157, 160 (2d

Cir. 1998) (internal quotation marks and citation omitted).

            This      Court    generally      “review[s]      challenged      jury

instructions     de    novo    but    will   reverse   only   if   all   of    the

instructions, taken as a whole, caused a defendant prejudice.”

Id.; see also United States v. Al Kassar, 660 F.3d 108, 127 (2d

Cir. 2011) (court does not look only to the particular words or

phrases questioned by the defendant, but must review instructions

as a whole to see if the entire charge delivered a correct
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interpretation of the law).           Where no objection was made to the

jury instruction, as here, a plain error standard of review

applies.     See United States v. Botti, 711 F.3d 299, 308 (2d Cir.

2013); see also Fed. R. Crim. P. 30(d), 52(b).             Under this standard

of review, an appellate court “has discretion to reverse only if

the instruction contains (1) error, (2) that is plain, and (3) that

affects substantial rights.”          Botti, 711 F.3d at 308 (alterations,

internal quotation marks, and citation omitted); see also United

States v. Olano,       507 U.S. 725, 735-36 (1993).         Moreover, even if

those   three    conditions     are    met,   “a   court   may   exercise   its

discretion to correct the error only if the error seriously

affected the fairness, integrity or public reputation of judicial

proceedings.”       Id. (alterations, internal quotation marks, and

citation omitted).

     B.      The VICAR Statute And Pinkerton Liability

             18 U.S.C. § 1959(a) reads in relevant part:

                  Whoever, as consideration for the receipt
             of, or as consideration for a promise or
             agreement to pay, anything of pecuniary value
             from an enterprise engaged in racketeering
             activity, or for the purpose of gaining
             entrance to or maintaining or increasing
             position   in   an   enterprise   engaged   in
             racketeering   activity,   murders,   kidnaps,
             maims, assaults with a dangerous weapon,
             commits assault resulting in serious bodily
             injury upon, or threatens to commit a crime of
             violence against any individual in violation
             of the laws of any State or the United States,
             or attempts or conspires so to do, shall be
             punished . . . .
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18 U.S.C. § 1959(a).      The violations of New York State law relevant

to the charges here are New York Penal Law §§ 110/125.25(1)

(attempted murder) and New York Penal Law § 120.05(2) (assault

with a dangerous weapon.        (A 29).      Each count also alleged that

Osborne was liable as a principal under New York Penal Law § 20.00

(aiding and abetting).        (Id.).      While under New York State law

accessorial conduct may not be equated with mere membership in a

conspiracy, see People v. McGee, 49 N.Y.2d 48, 56-58 (1979), it is

also true that “a conspirator’s conduct in many instances will

suffice to establish liability as an accomplice,” id. at 57.

Moreover, New York Penal Law § 20.0028 specifically provides that

a person who “solicits, requests, commands, importunes” a criminal

act is liable as an accessory and thus as a principal.                   See also

People v. Mateo, 2 N.Y.3d 383,             407-09 (2004) (defendant who

“commanded” the murder was liable as a principal).

            By contrast, under Pinkerton v. United States, 328 U.S.

640 (1946), a conspirator may be found guilty of foreseeable


     28     NYPL § 20.00 reads in relevant part:

                 When one person engages in conduct which
            constitutes an offense, another person is
            criminally liable for such conduct when,
            acting with the mental culpability required
            for the commission thereof, he solicits,
            requests,     commands,    importunes,     or
            intentionally aids such person to engage in
            such conduct.
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substantive        offenses     committed       by      his    co-conspirators         in

furtherance of the conspiracy.            See United States v. Gallerani, 68

F.3d   611,      620   (2d   Cir.    1995)     (“Once    a    conspiracy      has    been

established, the criminal liability of its members extends to all

acts    of     wrongdoing     occurring      during     the    course    of    and    in

furtherance of the conspiracy.” (internal quotation marks and

citation omitted)); see also United States v. Salameh, 152 F.3d

88, 151 (2d Cir. 1998) (quoting United States v. Romero, 897 F.2d

47, 51 (2d Cir. 1990) (“‘a conspirator can be held responsible for

the substantive crimes committed by his co-conspirators to the

extent those offenses were reasonably foreseeable consequences of

acts furthering the unlawful agreement, even if [the conspirator]

did    not    himself    participate      in    the     substantive     crimes.’”)).

“Whether a particular crime is foreseeable and in furtherance of

the conspiracy is a factual matter for the jury.”                       Romero, 897

F.2d at 51.

II.    The Giving Of The Pinkerton Charge
       Does Not Vitiate Osborne’s
       Convictions On Counts Ten And Eleven

               Osborne    contends    that     the    district    court       erred    in

providing the jury with a Pinkerton instruction as to Counts Ten

and Eleven because a defendant cannot be guilty of the underlying

substantive New York State crimes (attempted murder and assault

with a dangerous weapon) based on a Pinkerton theory of liability.
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(Br. 50-53).        That argument is directly contrary to controlling

precedent.

               Specifically, in Diaz, 176 F.3d at 99-100, this Court

held   that    Pinkerton      was   applicable        to    counts    charging        the

commission of Connecticut State crimes in aid of racketeering under

VICAR.   See also United States v. Bagaric, 706 F.2d 42, 62-63 (2d

Cir.   1983)   (within       judge’s     discretion    to    charge     a    predicate

racketeering offense by a generic description rather than giving

elements in full), abrogated on other grounds by National Org. for

Women, Inc. v. Scheidler, 510 U.S. 249 (1994).                  Indeed, the Court

characterized the appellants’ claim in that gang-related case

involving four New Haven murders, namely, that “the district court

was obliged to look to Connecticut law to determine the propriety

and language of a Pinkerton instruction,” as “meritless.”                        Diaz,

176 F.3d at 100.         Relying on Miller, 116 F.3d at 675 (“RICO’s

allusion to state crimes was not intended to incorporate elements

of state crimes, but only to provide a general substantive frame

of reference”), the Court upheld a conspiracy to assault charge

lacking an “overt act” jury instruction.                   Id. at 96.       Later, the

Court also noted, “the racketeering statutes are not meant to

incorporate     state    procedural         and   evidentiary         law;     rather,

references     to    state    law   in    these   statutes       merely       serve    a

definitional purpose, that is, to identify generally the kind of
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conduct made illegal by the federal statute.”            Id. at 100 (citing

United States v. Coonan, 938 F.2d 1553, 1564 (2d Cir. 1991)

(“Congress did not intend to incorporate the various states’

procedural and evidentiary rules into the [racketeering] statute.”

(internal quotation marks and citation omitted)); United States v.

Paone, 782 F.2d 386, 393 (2d Cir. 1986).

               Osborne nevertheless argues that decisions since Diaz,

e.g., United States v. Carillo, 229 F.3d 177 (2d Cir. 2000), United

States v. Feliciano, 223 F.3d 102 (2d Cir. 2000), and United States

v. Pimentel, 346 F.3d 285 (2d Cir. 2003), make clear that even if

federal racketeering statutes like VICAR do not incorporate state

procedural law, they must take into account the law governing the

substantive state crimes at issue in the case.            (Br. 54-57).     This

same argument, however, was previously made and rejected in United

States v. Sanchez, 623 F. App’x 35, 38-39 (2d Cir. 2015), cert.

denied, 136 S. Ct. 1235 (2016), an unpublished decision decided

less than a year before the district court instructed the jury in

this case.      Indeed, in Sanchez, this Court held that because it

had not “expressly disavowed Diaz’s broad language, much less

reversed its holding, . . . Diaz remains controlling authority.”

Id. at 39.     This is unsurprising given that this Court in Carillo

refused   to    convene   in   banc   to   deliberate    on    the   continuing

authority of Diaz.        Carillo, 229 F.3d at 186.           Because of this,
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any error occasioned by the giving of the Pinkerton charge was not

plain.29

              Finally, even if the district court erred in delivering

a Pinkerton instruction, Osborne cannot establish that such error

affected his “substantial rights,” or “‘seriously affect[ed] the

fairness,        integrity      or    public      reputation     of        judicial

proceedings,’” as required under plain error review.                   Botti, 711

F.3d at 308-15 (citation omitted).             Here, the facts demonstrated

that Osborne, the leader of the Rollin’ 60s, ordered Denzel Smith

to   kill     Gardner,    in   line   with     Osborne’s   directive        against

cooperation. (GA 121-22, 298-305, 313). Moreover, Smith attempted

to   carry    out   Osborne’s    order    using   a   firearm   that    had    been

previously used by Rollin’ 60s members in the course of other

shootings, namely, the shooting of Bloods member Cornell Brown and

the shooting of Christopher Anderson at the Midway Deli. (GA 335).

Clearly, these facts are sufficient under New York State law to

convict Osborne of aiding and abetting the crimes of attempted



      29  Osborne’s other authority is simply inapposite.       For
example, Feliciano and Pimentel involved a district court’s
failure to instruct a jury on all the underlying elements of the
state-law offenses at issue. While this Court may have suggested
that such failure could be tantamount to plain error under certain
circumstances, see Pimentel, 346 F.3d at 302-04, here the district
court specifically instructed the jury on the underlying elements
of Counts Ten and Eleven, including the law of aiding and abetting.
(GA 338-39, 340, 341-43).
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murder and assault.    See Mateo, 2 N.Y.3d at 407.        Indeed, the jury

must have made this very finding in convicting Osborne of Count

One, Racketerring Act Four, Subpart B, because the district court’s

Pinkerton charge did not extend to that racketeering act — it only

applied to Counts Four, Five, Seven, Eight, Ten, Eleven, Twelve

and Fourteen.   (GA 344, 347).

          Accordingly,     even   if   the   district     court   erred   in

providing a Pinkerton instruction in its charge, Osborne’s claim

should be denied.
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                                 POINT FOUR

              THE DISTRICT COURT DID NOT ERR IN DENYING
                A FRANKS HEARING; NOR DID IT WRONGLY
            REFUSE TO SUPPRESS THE EVIDENCE OF THE SEARCH

            Osborne also claims that the district court erred in

denying him a Franks hearing related to a wiretap of Osborne’s

cell phone and a search warrant application for a search of

Osborne’s home.        (Br. 59-69).      This is because, according to

Osborne, the wiretap application contained purportedly purposeful

material misinformation about Osborne’s involvement in the murder

of confidential informant Maurice Gardner.                 (Br. 64-68).    Osborne

further   asserts     that,   because   the    search       warrant   application

relied in part on information learned from the wiretap, it, too,

was defective and required suppression of the fruits of the search.

(Br. 68, 69).

            These claims are unavailing.

I.   The Relevant Facts

     A.     The Wiretap Of Osborne’s Phone

            As part of its investigation into the Rollin’ 60s, on

March 22, 2013, NCPD and the Nassau County District Attorney’s

Office    (“NCDAO”)    sought   authorization         to    intercept     calls   on

Osborne’s cellular phone (the “wiretap application”).                   (A 37-39).

The wiretap application included, inter alia, an affidavit from

NCPD Detective John Mitchell (the “Mitchell Affidavit”), which

established    overwhelming     probable      cause    that    Osborne     and    the
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Rollin’ 60s sold firearms and narcotics and committed acts of

violence.    (A 54-112).

            Among other things,        the Mitchell      Affidavit detailed

numerous crimes committed by Osborne and his gang, including

illegal firearms sales (A 64-69), narcotics sales (A 70-76),

attempted murder (A 63-64, 76-77, 80-83) and a robbery (A 92-93).

Since Osborne was the leader of the gang, other members were

expected to follow Osborne’s orders and share proceeds from their

illegal endeavors for the betterment of Osborne and the gang.

(A 56-57, 62).

              Some    of   these    crimes    detailed    in   the       Mitchell

Affidavit involved Osborne personally.          For example, the affidavit

included information that Gardner had informed law enforcement

officials that Osborne played “an integral role” in the Rollin’

60s gun running enterprise, which included the purchase of guns in

North Carolina and later sale by Osborne and others in Nassau

County.     (A 64, 66).

            The Mitchell Affidavit also included information that

Gardner had purchased a gun from Halyard in Osborne’s basement,

with Osborne present.       (See A 65, 67).       Specifically, on May 15,

2012, Gardner agreed to buy a firearm from Halyard.                       (Id.).

Halyard told Gardner to come to Osborne’s house to conduct the

transaction.      (Id.).    When Gardner arrived at Osborne’s house,
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Osborne greeted Gardner and instructed him to come inside.                (Id.).

Osborne then escorted Gardner to the basement where Gardner met

Halyard and bought a firearm.          (Id.).

             Further, the Mitchell Affidavit set forth an attempted

gun   sale    between    Osborne    and   Gardner    that   involved      Osborne

personally and also showed the collaboration between Osborne and

the gang to sell firearms.           (A 69-70).     Gardner called Osborne’s

cell phone and one of Osborne’s fellow gang members answered.

(Id.).       Gardner and Osborne’s underling made arrangements to

conduct a firearm transaction.            (Id.).    Gardner traveled to the

pre-arranged location, and Osborne entered Gardner’s car and began

negotiating a price for the firearm that he was going to sell to

Gardner.      (Id.).    Osborne told Gardner that he would consummate

the transaction later.        (Id.).

              Moreover,    the     Mitchell   Affidavit     described     a   text

message exchange between a confidential informant and Osborne,

during which Osborne discussed the sale of a firearm.              (A 84).      It

further detailed text messages between Osborne and an informant on

Osborne’s cell phone in which Osborne discussed “narcotics related

activities, such as weighing drugs.”            (Id.).

             The Mitchell Affidavit also referenced a rap video in

which Osborne admitted that he held a leadership position within

a gang (A 105 (“[B]ecause I’m a G from the top of the scene”)),
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sold narcotics (A 104 (“Play the trap spot hard”)), had access to

firearms (A 102 (“I fuck around and put a whole thirty clip inside

of you . . . . .       Big gun holder)), and would kill anyone who was

cooperating with law enforcement (A 103 (“I kill a rat when I see

a rat”)).       Additionally, the affidavit discussed two other rap

videos in which members of the Rollin’ 60s brandished firearms and

discussed selling narcotics and committing acts of violence on

behalf of the gang.30       (A 84-88, 93-98, 101-05).

              In addition to these crimes committed by Osborne and his

gang contained in the Mitchell Affidavit, the affidavit stated

that Osborne had shot Gardner in an attempted murder of the

suspected confidential informant, which information was based, in

part, on what Gardner had told law enforcement officials.                 (A 81-

83   (“Upon     interview    of    [Gardner,]   I   learned    the   following

information . . . .”)).           Specifically, Detective Mitchell stated

that Gardner had told him that Derick Hernandez had lured Gardner

out of his house and led Gardner into Osborne’s path, where

Osborne, who was wearing a red hooded sweatshirt,31 proceeded to



      30     Osborne, as gang leader, was featured in one of these
videos.     (A 93-98).
      31  Osborne wrongly asserts that Detective Mitchell believed
that there were two shooters: the man in the red hooded sweatshirt
and Osborne. (Br. 63). Instead, Detective Mitchell stated that
Gardner told him that Osborne was the man in the red hooded
sweatshirt. (A 82).
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                                                                                65

shoot Gardner several times causing paralysis from the waist

down.32   (A 81-83).

            On   March      22,    2013,    after   reviewing      the     wiretap

application, The Honorable Frank A. Gulotta, Jr., Justice of the

Supreme Court, authorized the interception of calls on Osborne’s

cellphone from March 22, 2013 to April 20, 2013.                    (A 113-17).

During    that     time,     the     NCPD    intercepted        numerous     calls

demonstrating     that     Osborne   was    trafficking    in    narcotics    (the

“wiretap evidence”).

     B.     The Search Of Osborne’s Home

            On April 12, 2013, The Honorable Tammy Robbins, Acting

Justice of the Supreme Court, authorized a search of Osborne’s

home pursuant to a search warrant.           (A 131(b)-159).      In support of

that warrant, Detective Mitchell submitted an additional affidavit

detailing facts establishing probable cause to search the home,

including numerous cell phone calls intercepted pursuant to the

wiretap that made it clear that Osborne was selling narcotics from

his home and evidence of the May 15, 2012 illegal gun sale that

had occurred in Osborne’s basement.             (A 143-50).        On April 17,




     32   In fact, not only did Gardner identify Osborne as the
shooter in the hospital, as of the date that Osborne filed his
Franks motion, Gardner continued to believe that Osborne had shot
him. (A 166).
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2013, law enforcement officers executed that search warrant and

recovered ammunition, among other items.               (GA 274-77).

     C.      Pre-Trial Motions

             Prior to trial, Osborne moved for: (1) a Franks hearing

to determine whether the wiretap evidence should be suppressed

because of inaccuracies in one of the wiretap affidavits; and

(2) suppression of evidence recovered from his home as the result

of the purportedly faulty wiretap application that relied on

information      contained      in    the    wiretap     affidavit.       (A 11,

Dkt. No. 176; GA 1-5).           The government opposed those motions.

(A 11 Dkt. No. 183; GA 6-58).            The basis of the motion was that

subsequent to the filing of the affidavits, the government learned

that although Osborne and Hernandez had conspired to kill Gardner,

Osborne was not the shooter (id.); rather, Osborne and Hernandez

had directed a younger gang member (Denzel Smith) to murder Gardner

id.; see also GA 298-307). Indeed, it was only after Halyard began

to meet with members of law enforcement, subsequent to Osborne’s

arrest in April of 2013 and after Detective Mitchell had submitted

the affidavits in support of the wiretap and search warrant, that

law enforcement officials first learned that Osborne was not the

shooter.       (GA   324-25).        After   Halyard    told   the    NCDAO   this
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information, the NCDAO informed Osborne that it had information

that he was not the shooter.33

            On January 25, 2016, the parties appeared for oral

argument on the motion. (A 160). After hearing extensive argument

(A 163-87), the district court denied Osborne’s motion, holding:

                 After reviewing all of the information
            and materials in the case, the government’s
            argument is the more substantial one.       It
            appears that there was a great deal of
            probable cause based on the information that
            Detective Mitchell conveyed, albeit a portion
            of it with regard to the October shooting of
            the confidential informant that paralyzed him.
            But there were so many other pieces that fit
            in to give a judge the justification to order
            a[n] eavesdropping warrant.

                 There were numerous texts and calls
            between various alleged members of the group.
            The necessity is clear to me. I don’t think
            that the case law requires any more . . . .

                 I don’t see that one incident of
            misinformation even including the business
            with the telephone, the cell phone, which
            really could be any place. The government has
            indicated on more than one occasion that
            others were using Mr. Osborne’s cell phone.
            And there is enough going on communication-
            wise between Mr. Osborne, Mr. Hernandez, and
            other gang members that it was indeed
            justified.



     33   On October 4, 2013, the NCDAO met with attorneys for
Osborne and Derick Hernandez in the chambers of The Honorable
William C. Donnino, Nassau County Supreme Court Justice, and made
an in camera disclosure of the fact that a witness had reported
information that someone other than Osborne was the shooter in the
Gardner incident.
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(A 187-88).

II.    Applicable Law

       A.     The Standard Of Review

              On appeal from a district court’s ruling on a motion to

suppress evidence, this Court “review[s] legal conclusions de novo

and findings of fact for clear error.”              United States v. Freeman,

735 F.3d 92, 95 (2d Cir. 2013).

       B.     Requirement Of A Franks Hearing

              Where a defendant contends that an affidavit in support

of a wiretap or search warrant contained deliberately misleading

or    recklessly     false   information,     the    analysis    of   Franks   v.

Delaware, 438 U.S. 154 (1978), applies.                 See United States v.

Rajaratnam, 719 F.3d 139, 151-52 (2d Cir. 2013) (applying Franks,

which involved a physical search, to a wiretap).                Under Franks, a

defendant is entitled to a hearing if he “make[s] a substantial

preliminary       showing    that:    (1)   the     claimed   inaccuracies     or

omissions are the result of the affiant’s deliberate falsehood or

reckless disregard for the truth; and (2) the alleged falsehoods

or omissions were necessary to the judge’s probable cause finding.”

Salameh, 152 F.3d at 113 (internal quotation marks omitted);

see also United States v. Awadallah, 349 F.3d 42, 64-65 (2d Cir.

2003).

              Indeed, a defendant seeking to make the first showing of

an intentional or reckless misstatement or omission must show more
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than inadvertent error.          “[E]very statement in a warrant affidavit

does not have to be true.”           United States v. Martin, 426 F.3d 68,

73 (2d Cir. 2005) (internal quotation marks and citation omitted).

Nor is “[a]n affiant . . . expected to include in an affidavit

every   piece     of     information       gathered      in    the    course     of   an

investigation.”          Awadallah,       349   F.3d    at    67-68    (citation      and

internal quotation marks omitted); see also Rajaratnam, 719 F.3d

at 154 (quoting Awadallah, 349 F.3d at 67-68).

            The    moving       defendant        must    also        show     that    any

misstatements or omissions alleged were material.                     To determine if

false information was material, i.e., “‘necessary to the [issuing]

judge’s probable cause finding[,]’ . . . ‘a court should disregard

the allegedly false statements and determine whether the remaining

portions of the affidavit would support probable cause to issue

the warrant.’”         United States v. Canfield, 212 F.3d 713, 718 (2d

Cir. 2000) (quoting Salameh, 152 F.3d at 113).                   “If the corrected

affidavit   supports         probable     cause,   the    inaccuracies         were   not

material to the probable cause determination and suppression is

inappropriate.          As   with   the    inclusion     of    false        information,

‘[o]missions from an affidavit that are claimed to be material are

governed by the same rules.’”                   Id. (quoting United States v.

Ferguson, 758 F.2d 843, 848 (2d Cir. 1985)); see also Rajaratnam,

719 F.3d at 146.
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     C.     The “Good Faith” Exception

            Even if it is determined that there is a problem with a

search    warrant,      evidence     obtained      via     that   warrant      may

nevertheless be admitted.         As the Supreme Court has stated, “when

an officer acting with objective good faith has obtained a search

warrant from a judge or magistrate and acted within its scope,”

“excluding    the     evidence    will     not   further    the   ends    of   the

exclusionary rule in any appreciable way.”               United States v. Leon,

468 U.S. 897, 919-20 (1984).         Hence, suppression of evidence is a

“last resort,” Hudson v. Michigan, 547 U.S. 586, 591 (2006),

appropriate only when law enforcement conduct is “sufficiently

deliberate     that    exclusion     can     meaningfully      deter     it,   and

sufficiently culpable that such deterrence is worth the price paid

by the justice system.”          Herring v. United States, 555 U.S. 135,

144 (2009); see United States v. Moore, 968 F.2d 216, 222 (2d Cir.

1992) (evidence seized pursuant to a warrant is admissible even if

the warrant lacks probable cause as long as the executing officers

relied upon the warrant in “objective good faith”).

III. The District Court Did Not Err In
     Refusing To Conduct A Franks Hearing

            The district court’s denial of the suppression of the

wiretap was correct under Franks because the information that
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Osborne shot Gardner was not material.34            Even if the information

regarding the Gardner attempted murder was stripped from the

Mitchell Affidavit, it contained sufficient probable cause to

believe that Osborne and the Rollin’ 60s were engaged in firearms

trafficking, narcotics trafficking, robberies and other gang-

related activities to justify the wiretap.                 (A 187-88).       For

example,     the   affidavit    included:    (1)   statements     provided   by

Gardner, showing that Rollin’ 60s members “worked together to

contribute to the Rollin 60’s gun running enterprise,” in which


     34   Although Osborne raised a claim of intentional falsehood
in the district court, the district court did not reach this
question in light of its finding that the information was not
material (A 187-88), and this Court need not decide it either.
Nevertheless, the government has always maintained that any
inaccurate information contained in the Mitchell Affidavit was
inadvertent.   Gardner, who knew Osborne, told law enforcement
officers that Osborne, whom Gardner claimed was wearing a red
hooded sweatshirt, walked past him, turned around and shot him in
the back. (A 81-83). Further, Gardner’s eyewitness account was
corroborated by a different eyewitness who told law enforcement
that while he could not identify the person who shot Gardner, the
shooter was wearing a red hooded sweatshirt. (A 166-67). Another
witness informed law enforcement officers that Osborne was wearing
a red hooded sweatshirt the night Gardner was shot.          (Id.).
Moreover, as the district court observed, there was significant
evidence connecting Hernandez, who had lured Gardner out of his
house and into the shooter’s path, to Osborne.          (A 167-68).
Additionally, Osborne had a motive to kill Gardner because Gardner
was cooperating with law enforcement, nothing short of a major
violation of the gang’s rules. (Id.). Indeed, the district court
correctly placed little weight on Osborne’s evidentiary argument,
namely, that phone records showed that Osborne’s cell phone was in
a different town at the time of the attempted murder, because there
was evidence that Rollin 60s members, including Osborne (who lent
his cell phone to someone else to arrange the attempted firearm
sale with Gardner), shared their phones. (A 69, 187-88; GA 214).
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Osborne played “an integral role” (A 64-66); (2) text messages

over Osborne’s cell phone with a different confidential informant

(CI #4), in which Osborne discussed selling firearms (A 84); (3) a

conversation on Osborne’s cell phone between Gardner and one of

Osborne’s fellow gang members arranging for the sale of a firearm

(A 69-70); (4) facts about a face-to-face meeting between Osborne

and Gardner during which Osborne negotiated a price for a firearm

that he intended to sell to Gardner (id.); (5) text messages

between   Osborne    and   an   informant    (CI    #4),    in   which    Osborne

discussed “narcotics related activities” (A 84); (6) information

about   an   audio   and   video   recording     of   a    May   15,    2012   gun

transaction that occurred in Osborne’s home while Osborne was

present (A 65, 67); (7) extensive evidence that Osborne’s fellow

gang members sold drugs (A 70-76), committed robberies (A 92-93),

sold firearms (A 65-69), and committed acts of violence (A 63-64,

76-77,80-83), all for the benefit of the organization (A 56-57);

and (8) several rap videos in which Osborne and members of his

gang brandished firearms and/or discussed selling narcotics and

committing acts of violence on behalf of the gang (A 84-88, 93-

98, 101-05).

             While   Osborne    argues    that     none    of    this    evidence

establishes his personal involvement in any crimes (Br. 66-67),

this is an unfair reading of the evidence.                Although Osborne did
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not personally sell the gun to Gardner on May 15, 2012, he

nevertheless lent his basement for the gun’s sale.                  Further, the

fact that Osborne did not follow through on a potential sale of a

firearm to Gardner does not erase the fact that he did conspire to

sell Gardner a gun.       Moreover, the fact that the evidence outlined

numerous     examples   of    gang-related       criminal   activity    does   not

negate the fact that Osborne served as leader of the gang, both

exhorting members to criminal activity and personally benefitting

from it.     Taken together, there is more than sufficient evidence

to establish probable cause for the wiretap even without the

information related to the Gardner attempted murder.

                Finally, even if the district court erred, the error

was    harmless     because    the    evidence     of   Osborne’s      guilt   was

overwhelming.      See Latine v. Mann, 25 F.3d 1162, 1167-68 (2d Cir.

1994) (the strength of the government’s case is probably the most

critical factor in determining whether an error is harmless). Even

without the wiretap evidence, every one of the six cooperating

witnesses testified that Osborne was the leader of the Rollin’

60s.     (See, e.g., Halyard (GA 84-85); Hernandez (GA 196-98);

Robinson (GA 229); Smith (GA 290); Appiagyei (GA 250-51); Morris

(GA    280)).      In   addition     to   that    testimony,   the     government

introduced Facebook records (GX 177D, 179C, 179E, 180C p.2, 180F

p. 5, 181G), photographs (GX 137, 147, 177F, 177G, 286-88; GA 248-
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49) and an admission that Osborne made to a prison official

(GX 3500-STR-1; GA 316-17) demonstrating that Osborne was a member

of the gang.

              Likewise, the evidence adduced at trial that Osborne

committed robberies was strong.                   Indeed, cooperating witnesses

Halyard,      Hernandez        and   Morris   testified     that    they    personally

committed robberies with Osborne.                 (See, e.g., GA 100-03, 167-70,

171-73, 193, 221-22, 284-86).

              Finally,     the       government    called    several       cooperating

witnesses who, in painstaking detail, testified that Osborne sold

cocaine base, cocaine, marijuana, heroin and methylone.                         (See,

e.g., GA 97, 98-99, 124, 125-27, 193, 213, 214-19, 229, 233-35,

246-47, 252-53, 254, 255-58, 283-84, 285).                      Additionally, the

evidence      adduced     at    trial    established    that    Osborne      possessed

quantities of heroin and methylone that were consistent with

distribution at the time of his arrest.                   (See, e.g., GA 68, 71-

72, 73-78, 279).

IV.    The Search Was Valid

              Even assuming there was a defect in the wiretap affidavit

that    tainted     the    search       warrant    affidavit,      Osborne    has   not

demonstrated that the law enforcement officials who carried out

the search acted in anything other than good faith.35                      See, e.g.,


       35 Neither Detective Colby nor Detective Mitchell were
present during the search of Osborne’s home. (See, e.g., GA 314,
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Leon, 468 U.S. at 920-233.        Indeed, there is simply no information

to establish that the “affidavit [is] so lacking in indicia of

probable cause as to render official belief in its existence

entirely unreasonable” or is “so facially deficient . . . that the

executing officers cannot reasonably presume it to be valid.”              See

id.   at   923   (internal    quotation    marks    and   citation   omitted).

Accordingly, the evidence recovered pursuant to the search warrant

should not be suppressed.




318-20).   Instead, Detective Mark Berte conducted that search.
(See GA 274-771).
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                                     POINT FIVE

                     THE DISTRICT COURT DID NOT ABUSE
                  ITS DISCRECTION IN PRECLUDING OSBORNE
                  FROM CALLING CERTAIN DEFENSE WITNESSES

            Osborne further claims that the district court violated

his Sixth Amendment Confrontation Clause right and his Fifth

Amendment right to due process by prohibiting him from calling

Detective       Mitchell    and    recalling    Detective   Colby      as   defense

witnesses.       Specifically, he argues that it was his defense that

these     law     enforcement       officials     either    lied      during   the

investigation or encouraged the cooperating witnesses to give

false inculpatory testimony at trial.              (Br. 70-73).       Osborne also

argues,    for    the   first      time   on   appeal,   that   the   detectives’

testimony would demonstrate that Gary Mosely, not Osborne, ordered

the attack on Gardner.            (Br. 73).

            These claims are also unavailing.

I.   The Relevant Facts

            Following       the    government’s     case,   Osborne’s       counsel

sought to call NCPD Detectives George Colby and John Mitchell as

defense witnesses.         (A 243-58).     The government asked for an offer

of proof.        (A 244-45).        This was because Detective Colby had

already testified in the government’s case, with the district court

permitting defense counsel latitude to expand the scope of cross-
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examination beyond the direct testimony.36               (A 237-42).      The

government also was concerned that Osborne’s true motive behind

calling Detective Mitchell was to re-open the court’s ruling on

the wiretap application.          (A 244-45).      In response, Osborne’s

counsel provided the following proffered reason for the testimony:

“[t]he investigation as it related to the phone call analysis, and

cell phone tower records and question Detective Colby about his

knowledge and participation in the charge of Mr. Osborne with

illegal gun sales in the first state indictment.”              (A 246).   The

government argued that this proffered reason was an improper,

irrelevant attempt to revisit the validity of the wiretap, which

was not before the jury.          (A 247-48).       The government further



     36   Indeed, Osborne’s counsel raised many of the issues now
raised by Osborne in connection with Detective Colby’s cross-
examination. (A 236-37). Moreover, the district court “allowed
him to get into it, over [the government’s] objections, to see if
it established any bias or prejudice.” (A 237). As a result,
Osborne’s counsel was permitted to ask Detective Colby questions
about his opportunities to meet with cooperating witnesses.
(A 238-39).   Counsel was also permitted to ask questions about
Detective Colby’s review (none) of phone records (A 239), and at
what point he had formed any conclusions about Osborne’s role in
the shooting of Gardner (A 239-40).     Detective Colby testified
that Gardner had told him and Detective Mitchell in the hospital
that Osborne was the shooter.      (Id.).    Detective Colby also
testified that he first learned that Osborne was not the shooter
in June 2013 (after Osborne’s April 17, 2013 New York State arrest
on attempted murder and firearms charges), when Halyard told him
that Osborne, though involved in the shooting, did not actually
fire the gun. (A 240-41). Detective Colby also stated that, at
first, he did not believe Halyard because Gardner, himself, had
stated that Osborne was the shooter. (A 241).
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pointed out that, to the extent Osborne was interested in the

government’s handling of confidential informant Gardner, Osborne

had ample opportunity to inquire of Gardner’s official handler,

FBI Special Agent David Biddescombe, who had testified in the

government’s case.       (A 247-48).

             In   response,     Osborne     buttressed     the    government’s

concerns that he was mostly interested in re-opening the bona fides

of the wiretap application:

             THE DEFENDANT: . . . John Mitchell and John
             Mitchell’s affidavit he falsified evidence
             pertaining to a conspiracy murder.          He
             falsified phone records, saying me and
             Hernandez were speaking about the . . .
             shooting of a confidential informant two hours
             surrounding the shooting and records were
             falsified, and he lied to a judge.

                  That’s what I want him to admit on the
             stand, but that was the main reasons for this
             whole entire case, not only did he withhold
             evidence that I was not at the scene of the
             crime and I’m not saying they still charging
             me with shooting this thing, but evidence was
             falsified. This officer lied to a judge, and
             he shouldn’t be able to interact with the
             witnesses on this case.

(A 250).

             As to Osborne’s concerns that Detective Mitchell was

“interacting” with the witnesses, the government replied:

             MS. BOECKMAN: . . . The government, as the
             court knows, has to assist the marshal
             service. . . . In order for me to meet with
             an incarcerated witness in my facility I need
             agents that have handcuffs.
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                               *     *     *

               . . . We need two agents as required by
          the marshal service with every cooperator.
          They are not allowed to be alone in a room
          with me. They have to be either outside the
          room – the prisoners are cuffed when they are
          brought up. There is nothing inappropriate.
          These two detectives have been working on this
          case with the FBI in conjunction with the FBI.
          They are essentially case agents on the case,
          and have been present for all other the
          witnesses. I wouldn’t attempt to conceal it.

               So, yes, Detective Mitchell has had
          exposure to the cooperators in conjunction
          with agents from the Federal Bureau of
          Investigation and the United States Attorney’s
          Office . . . .

(A 251-52).

          Later    in   the    hearing,    Osborne     responded       to   the

government’s arguments as follows:

          THE DEFENDANT:      I    disagree    with   everything
          she’s saying.

          . . . Detective Mitchell withheld evidence
          that could prove that . . . I was not even
          present when the confidential informant got
          shot and they had evidence before they even
          submitted that into the affidavit.

               They were well aware of the phone records
          . . . . They know I didn’t commit the crime.
          They know I wasn’t the shooter and they know
          I never sold this man any guns.

               They know this, but they still put in
          affidavit I sold him guns.      They falsified
          evidence saying picked me out of a lineup.
          They didn’t pick me out of any lineup. . . .
          Even if he’s trying to pick me out they coerced
          him to say that because they had evidence to
          prove I was not on the phone talking about
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              shooting him and they had clear evidence to
              prove I was nowhere near the scene of the crime
              and he shouldn’t be a police officer for lying
              to a judge, falsifying statements to a judge
              and he’s still able to interact with the
              witnesses before they get on the stand.

(A 254-55).

              Based on this proffer, the district court refused to

permit   the    defense    to   call   the   two   detectives.      (A   258).

Specifically, the court noted that Osborne was “not charged with

being the shooter” in the Gardner assault and that “whether it’s

right    or      it’s     wrong,   [it]      had   decided    the       wiretap

application. . . . .        (A 257).   In short, the testimony sought by

Osborne was no longer relevant.

II.   The Law

              Although the Constitution guarantees a defendant’s right

to present a defense, e.g., Watson v. Greene, 640 F.3d 501, 509

(2d Cir. 2011); United States v. Holmes, 44 F.3d 1150, 1157 (2d

Cir. 1995), that right is not without limitation and may yield to

“accommodate other legitimate interests in the criminal trial

process,” Rock v. Arkansas, 483 U.S. 44, 55 (1987) (quotation marks

and citation omitted); Chambers v. Mississippi, 410 U.S. 284, 302

(1973). Trial judges retain “wide latitude” to impose “reasonable”

limits on witness examination and to exclude cumulative evidence.

Holmes, 44 F.3d at 1157 (citing Delaware v. Van Arsdall, 475 U.S.

673, 679 (1986)).          But restrictions on the right to present
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evidence “‘may not be arbitrary or disproportionate to the purposes

they are designed to serve.’”          Michigan v. Lucas, 500 U.S. 145,

151 (1991) (quoting Rock, 483 U.S. at 56).           In general, a district

court is said to have abused its discretion “when its decision

cannot be located within the range of permissible decisions or is

based on a clearly erroneous factual finding or an error of law.”

United States v. Rigas, 490 F.3d 208, 238 (2d Cir. 2007) (internal

quotation marks and citation omitted).

III. The District Court Did Not Err
     In Limiting Irrelevant Testimony

            Osborne argues that the district court’s decision to

preclude the witnesses was an abuse of discretion of constitutional

dimension.      (Br. 72-73 (citing Chapman v. California, 386 U.S. 18,

24 (1967)).      Specifically, he claims that he was not seeking to

relitigate the district court’s ruling on the wiretap affidavit,

but to show that Detectives Colby and Mitchell had improperly

influenced Gardner into identifying him as one of the shooters.

He also claims that, had he been able to make such an inquiry, he

could have shown that that the true shooter, Denzel Smith, had

been pressured into implicating him not only for the Gardner

shooting but for other acts alleged in the indictment.              (Br. 73).

            Here, however, Osborne had a full opportunity to cross-

examine Detective Colby at trial about all of these topics.

Indeed,   the    district   court,   over    the   government’s    objection,
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afforded Osborne significant latitude during cross-examination to

expand the scope of Detective Colby’s cross-examination.37                 (See

A 229-42).

            Further, a careful review of Osborne’s argument at trial

makes clear that he very much wanted to relitigate the specifics

of the district court’s wiretap ruling.              (A 243-58).         Indeed,

Gardner did not testify at trial, so the question of whether

Detectives Colby and Mitchell “improperly influenced” Gardner only

impacted the validity of the wiretap application, which was not

relevant evidence.38      In any event, in addition to his opportunity

to cross-examine Detective Colby about this matter, Osborne was

free to challenge Smith, who participated in the Gardner shooting,

or any of the other cooperating witnesses about any purported




     37   Unsurprisingly, Osborne’s counsel did not explore the
topic of undue influence because there was no good faith basis to
do so. See United States v. Katsougrakis, 715 F.2d 769, 779 (2d
Cir. 1983) (no error in prohibiting counsel from questioning
witness when counsel “could not produce a source or other
information to verify its suspicions”).
     38   It is the goal of the Federal Rules of Evidence to
promote the admission of relevant evidence — evidence that “has
any tendency to make a fact more or less probable than it would be
without the evidence.” See Fed. R. Evid. 102, 401. Federal Rule
of Evidence 403 also provides, however, that even relevant evidence
may be precluded in cases in which its “probative value is
substantially outweighed by the danger of . . . unfair prejudice,
confusing the issues, misleading the jury, undue delay, wasting
time, or needlessly presenting cumulative evidence.” Fed. R. Evid.
403.
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attempts by the detectives to coach or coerce their testimony, or

any other information for that matter.

          Lastly, with respect to Osborne’s final purported reason

for calling Detective Mitchell, namely, to demonstrate that Gary

Mosely, not Osborne, ordered the attack on Gardner, Osborne never

raised this reason below.       When asked by the district court for

the reasoning behind the request to call the detectives in the

defense case, Osborne argued that he wanted to put the detectives

on the stand to show that Detective Mitchell had lied in the

application for the wiretap and that both detectives had improperly

influenced Gardner and the cooperating witnesses.               (A 243-58).

For that reason and because the theory of Mosely’s purported

involvement in the Gardner attempted murder and assault could have

been explored with Detective Colby and any of the cooperating

witnesses, Osborne cannot demonstrate error, plain or otherwise.
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                                   POINT SIX

                       THE GOVERNMENT DID NOT ELICIT
                        IMPROPER HEARSAY TESTIMONY

             Osborne further argues, again for the first time on

appeal, that the district court erred in permitting cooperating

witness Daron Morris to testify that Lobban had told him that

Osborne “ordered the hit on Gardner.”           (Br. 74-76).

             This claim also is unavailing.

I.   Relevant Facts

             During the direct testimony of cooperating witness Daron

Morris, he testified that when he first spoke to Osborne in prison

about the Gardner shooting, Osborne told him that he had shot

Gardner:

             Q:    Let’s break it down.

                        You have a conversation with Mr.
                   Osborne where?

             A:    In Nassau County Jail.

             Q:    And you were telling him what about your
                   own crimes?

             A:    That somehow there was mentioned that --
                   I brung it up that October 12, 2013, that
                   I shot a guy that I was incarcerated for
                   at the time that I was with him.

             Q:    So you told him you were arrested for
                   shooting someone on October 13, 2012?

             A:    Yes.

             Q:    And what did he say in response to you
                   telling him that you were charged in
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                Nassau County with           the    shooting     on
                October 13, 2012?

          A:    He said, oh, I have a shooting the same
                day.

          Q:    And what about that –- what happened to
                the person that he had a shooting for on
                that day, what did he tell you?

          A:    That the person        was    paralyzed     in    a
                wheelchair.

          Q:    And what if anything did he say in
                addition that [sic] he had a shooting?

                     Did he say anything            additionally
                about the shooting?

          A:    Yes.

                     The only conversation we had he told
                me he was there during the shooting and
                he said he had a red hoodie on and he
                won’t be able to be identified . . . .

(GA 280-81).

          Morris   further    testified      that   when   he    had   a   later

conversation with Osborne, Osborne instead claimed that he had

sent another person to do the shooting:

          A.    . . . .[A]nd then another time we spoke
                about it, he said that he wasn’t there,
                but he sent the Little Homies to do it
                because he felt violated that the guns
                was [sic] bought at his crib.

          Q.    So Mr. Osborne –- initially you have
                multiple conversations on this subject?

          A.    Yes.

          Q.    And in the first conversation he says
                that he was present for the shooting?
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          A.    Yes.



          Q.    And in a second conversation he says
                what?

          A.    That he wasn’t there, but he said that he
                sent the Little Homie to do it because he
                felt violated that the guns was bought at
                his crib.

 (GA 281).

          During   Morris’s    cross-examination,       Osborne’s      counsel

asked this series of questions in response to this testimony about

Osborne’s involvement in the Gardner attempted murder:

          Q:    You said there were rumors that Raphael
                Osborne had actually personally shot
                Maurice Gardner with a gun?

          A:    I told you I never heard that prior to
                him coming in and then when me and him
                had conversations and that was it.

          Q:    You hadn’t heard any rumors until he came
                into the jail that he was in fact charged
                with shooting Maurice Gardner?

          A:    Yes.

          Q:    And then you did hear rumors after he
                came to the jail, yes?  People talked
                about it?

          A:    About that?

          Q:    Yeah.

          A:    I really don’t recall that happening so
                much.

          Q:    You don’t recall that happening?

          A:    No.
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       Q:     And do you recall rumors about people
              discussing the fact that the shooter was
              wearing a red hoodie?

       A:     No.

                   He told me he was wearing a red
              hoodie and he said he’s gonna beat it.
              He said they won’t be able to identify
              him.

       Q:     Let’s refresh.

                            *     *      *

                   Did you hear rumors at the jail when
              you were talking to other inmates about
              the fact that the shooter was wearing a
              red hoodie?

       A:     Not that I recall, no.

       Q:     Did you hear those rumors when you were
              at GEO?39

       A:     No.

       Q:     In fact, when you were debriefed by the
              government you told them that Mr. Osborne
              had told you that he was present when Mo
              Diddy was shot, right?

       A:     Yes.

       Q:     And it was your understanding that he
              shot Mo Diddy, wasn’t it?

       A:     He said he was there, yes.

       Q:     He said he was there?

       A:     Yes.




39     GEO is a private detention facility.
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         Q:     On the basis of that recollection you
                concluded that he was representing to you
                that he shot him?

         A:     Pretty much. He was there, so if you’re
                there and you say I can’t be identify
                [sic] because I was wearing a red hoodie,
                that’s the only way I can take that.

         Q:     Since that time have you learned that
                that’s not true?

         A:     Like I told the government the other time
                we spoke about it he told me he wasn’t
                there.

         Q:     Have you learned it from any other
                sources that Mr. Osborne was not the
                shooter?

         A:      This guy Rah [Lobban], he told me that
                Gusto was at his house and they got the
                call after it was done saying it was
                them, Rah and his sister and Gusto was at
                Rah’s house.

(GA 287-88).

         On re-direct of Morris, the government sought to clarify

the testimony as follows:

         Q:     You also mentioned on cross-examination
                that you talked to Rah dollar [Lobban]
                about this [Gardner attempted murder]?

         A:     Yes.

                              *     *      *

                     This was during the while I was
                cooperating he [Lobban] came in.

         Q:     In Nassau jail?

         A:     Yes.
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          Q:     He tells you about what about Gusto’s
                 role in this shooting?

          A:     He said he wasn’t there, that Gusto was
                 at his house, Rah dollar, his sister and
                 Gusto and they was in the basement,
                 something like that he said, and he got
                 the call after it was done.

          Q:     He got the call after it was done?

          A:     Gusto did. He said Rah dollar’s sister
                 was going like this (indicating).

          Q:     Don’t talk about it on the phone?

          A:     Yes.

          Q:     Now this conversation was clarifying that
                 Gusto orders the hit, doesn’t do the hit?

          A:     Yes.

(A 227-28).

II.   The Standard Of Review

          Federal Rule of Evidence 801(c) defines “hearsay” as a

statement that (1) “the declarant does not make while testifying

at the current trial or hearing;” and (2) “a party offers in

evidence to prove the truth of the matter asserted . . . .” Failure

to raise a hearsay objection in the district court precludes review

of that objection on appeal for anything other than plain error.

See Olano, 507 U.S. at 732-33; Singleton v. Wulff, 428 U.S. 106,

120-21 (1976); United States v. Yu-Leung, 51 F.3d 1116, 1122 (2d

Cir. 1995).     Moreover, where a party purposely refrains from

objecting in the district court for strategic reasons, he waives

that claim entirely.     See United States v. Quinones, 511 F.3d 289,
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321-22 (2d Cir. 2007); Yu-Leung, 51 F.3d at 1122-23; see also Ohler

v. United States, 529 U.S. 753, 759-60 (2000) (where defendant

introduces    evidence,    he     waives     right    to   challenge    it   as

inadmissible).

III. No Improper Hearsay Was Admitted

            Osborne    contends   that     Morris    testified   on    redirect

examination, in violation of Federal Rule of Evidence 801(c)(c),

that Lobban had told him that Osborne “ordered the hit on Gardner.”

(Br. 74). But that is not an accurate characterization of Morris’s

testimony.    Indeed, as the testimony above makes clear, Morris’s

redirect testimony about Lobban’s statement was aimed merely at

clarifying Morris’s earlier misunderstanding, based on Osborne’s

own conflicting statements, about Osborne’s role in the Gardner

shooting.     (A 228 (“Now this conversation was clarifying that

[Osborne] orders the hit, doesn’t do the hit?”)).

            However, even if Osborne’s interpretation of Morris’s

testimony is correct, he cannot prevail.             Here, it is obvious that

Osborne’s counsel made a strategic decision not to object to the

government’s redirect examination because he wanted to discredit

Morris by suggesting that Morris had only learned the details of

the Gardner shooting from other inmates like Lobban, not from

Osborne himself.      Proof of that strategy is evident from Osborne’s

counsel’s    own   elicitation    of   the   offending     hearsay    testimony
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during his cross-examination of Morris (GA 281), a fact that is

glaringly absent from Osborne’s brief on appeal.

            Finally, even if Osborne did not waive his current

hearsay claim, he cannot show plain error.                Despite Osborne’s

statements to the contrary (Br. 75-76), the evidence that Osborne

ordered the attack on Gardner was very strong.            For example, Smith

testified that Osborne and one of Osborne’s top lieutenants, Derick

Hernandez, ordered him to shoot and kill Gardner.                 (GA 298-301,

313).      Morris testified, among other things, that Osborne had

admitted    that   he   ordered   one   of   his   younger   gang   members   —

referring to Smith — to kill Gardner.          (GA 280-82, 286).        Further,

Halyard testified that after Osborne had learned that Gardner was

out of a coma, he was upset that the person Hernandez had recruited

to shoot Gardner did not kill him.            (GA 122).      Halyard further

recounted two conversations that he had had with Derick Hernandez;

during the second conversation, Hernandez identified Smith as the

shooter that he and Osborne had recruited for the attempted murder.

(GA 121, 122).      Moreover, Halyard, as well as Reynaldo Hernandez

and Appiagyei, testified that Osborne had been suspicious of

Gardner’s    possible    cooperation    before     the   attack   was    ordered

(GA 119-20, 226, 263) — a suspicion that was corroborated by the

government’s introduction of a telephone conversation recorded on

the day of the attempted murder (GX 102) during which Osborne told
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a   fellow   gang   member      that   Gardner   was    cooperating    with   law

enforcement and putting the gang in jeopardy.

             In   sum,   even    assuming    that      Osborne   has   correctly

characterized the evidence, because Osborne introduced similarly

offending testimony as part of his trial strategy, and because the

evidence of Osborne’s involvement in the Gardner shooting was more

than sufficient to prove his involvement, Osborne’s hearsay claim

should be denied.
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                                   POINT SEVEN

                THE DISTRICT COURT PROPERLY ADMITTED CRIME
                SCENE AND AUTOPSY PHOTOS DURING THE TRIAL

              To   corroborate     the   cooperating     witnesses’    testimony

about various murders of Bloods gang members committed by members

of the Rollin’ 60s Crips, the government introduced — without an

objection from Osborne40 — a single autopsy photograph for each of

the murder victims: Lord Carter, Kail Ferro, and James McClenic.

The government also introduced — again without objection — a crime

scene photograph related to the Ferro murder.                (A 222, 224, 225-

26).

              Osborne now argues, again for the first time on appeal,

that the district court erred in admitting those photographs.

Specifically,       Osborne    contends    that   the    photographs    were   so

inflammatory as to deny him a fair trial.               (Br. 76).

              This argument is meritless.

I.     The Law

              As noted supra, at 82 n.38, it is the goal of the Federal

Rules of Evidence to promote the admission of relevant evidence,

that is, evidence that “has any tendency to make a fact more or



       40 Federal Rule of Evidence 103 states, in relevant part,
that “[a] party may claim error in a ruling to admit or exclude
evidence only if the error affects a substantial right of the party
and . . . “if the ruling admits evidence, a party, on the record,
. . . timely objects or moves to strike . . . .”
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less probable than it would be without the evidence.”             See Fed. R.

Evid. 102, 401.        Moreover, as this Court has stated, “[a]ll

relevant    evidence     is    admissible     unless     excluded        by   the

constitution, a statute, or a rule.”            United States v. Onumonu,

967 F.2d 782, 786 (2d Cir. 1992).               Indeed, Rule 403, which

addresses the exclusion of relevant evidence on prejudice and other

grounds,   instructs     that,   to   justify    suppression,     it     is   not

sufficient that an item’s probative value be somewhat less than

its pernicious potential; rather, relevant evidence may not be

excluded unless its “probative value is substantially outweighed

by the danger of . . . unfair prejudice, confusing the issues,

misleading the jury, undue delay, wasting time, or needlessly

presenting cumulative evidence.”            Fed. R. Evid. 403 (emphasis

added); see also Costantino v. Herzog, 203 F.3d 164, 174 (2d Cir.

2000) (“Because virtually all evidence is prejudicial to one party

or another, to justify exclusion under Rule 403 the prejudice must

be unfair.”).

II.    The Morgue Photographs Were Not Unfairly Prejudicial

           Osborne contends that the government offered the morgue

photographs of Carter, Ferro, or McClenic simply to “prove a

general conspiracy among Crips members to murder and/or assault

Bloods” and therefore the photographs are not relevant.                (Br. 76-

77).    This contention, however, ignores the fact that Osborne was

charged with offenses that required the government to prove beyond
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a reasonable doubt that the Rollin’ 60s Crips engaged in various

criminal     activity,       including    violent   crimes       such    as   murder,

attempted murder, and robbery.

             Specifically, the indictment charged that the Rollin’

60s   Crips     was     a    racketeering      enterprise       that     engaged   in

racketeering        activity,      including     murder,     attempted        murder,

robbery, narcotics trafficking, witness tampering and witness

retaliation.        (A 19-26).41   During the course of the trial, several

witnesses including Halyard, Reynaldo Hernandez,                        and Robinson

testified that Osborne was not only a member of the Rollin’ 60s

Crips, but its leader.          (GA 85, 87 183, 194, 228-29, 290, 309-10).

Moreover, Halyard, Hernandez and Robinson also testified that

other members of the Rollin’ 60s Crips — Cody Hernandez, Devon

Cabrera and Eric Smith — murdered members of the rival Bloods gang,

namely, Carter (GA 90, 107, 206), Ferro (GA 89, 108-09, 184, 204-

05), and     McClenic (GA 113-15, 163-66, 184, 207, 209-10).                  Indeed,

the   photographic          evidence   was   provided      to    corroborate       the

testimony      of    these    cooperating      witnesses,       whose    credibility

Osborne repeatedly challenged throughout the trial.                        Thus, the

district court’s admission of the photographs was proper and, in

any event, not plain error.            See United States v. Pierce, 785 F.3d



      41  The indictment also charges various substantive counts
related to these violent racketeering acts. (See A 26-34).
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832, 840 (2d Cir. 2015) (reviewing court can only review the

admission of evidence without objection for plain error); see also

United States v. Coonan, 938 F.2d 1553, 1565 (2d Cir. 1991).

            Nor is it of any moment that the government did not need

the photographs to prove the deaths.         (See Br. 77).    Merely because

the photographs are somewhat graphic in nature does not mean that

they were unfairly prejudicial under Rule 403.               In fact, courts

have routinely admitted arguably far more forceful evidence of

guilt, even when there are alternatives.            See, e.g., United States

v. Polouizzi, 564 F.3d 142, 152 (2d Cir. 2009) (images of child

pornography); United States v. Velazquez, 246 F.3d 204, 211 (2d

Cir. 2001) (autopsy photos); Salameh, 152 F.3d at 122 (finding no

abuse of discretion to admit a “significant” number of “graphic”

and “disturbing” photos of World Trade Center bombing victims,

including    corpse     of   a   pregnant    woman,     despite    defendants'

stipulation offer).      Such evidence “not only satisfies the formal

definition    of   an   offense,   [it]     tells   a   colorful   story   with

descriptive richness.”       Old Chief v. United States, 519 U.S. 172,

187 (1997).    Indeed, such evidence has “force beyond any linear

scheme of reasoning, and as its pieces come together a narrative

gains momentum, with power not only to support conclusions but to

sustain the willingness of jurors to draw the inferences, whatever

they may be, necessary to reach an honest verdict. This persuasive
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power of the concrete and particular is often essential to the

capacity of jurors to satisfy the obligations that the law places

on them.”   Id.

            Finally, even if Osborne could show some error in the

admission of the photographs, he has failed to demonstrate that

such error affected his substantial rights or offended justice.

See Olano, 507 U.S. at 734.     Indeed, the murders of Carter, Ferro,

and McClenic were part of a larger narrative that included numerous

acts of violence by the Rollin’ 60s Crips making it difficult to

demonstrate that they were unduly prejudicial.

            Accordingly,   because     the   morgue     photographs    were

relevant to the charges against Osborne and not unduly prejudicial,

Osborne’s claim that the admission of the photographs was erroneous

should be denied.
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                                  POINT EIGHT

                     OSBORNE’S SENTENCE WAS REASONABLE

            Osborne also claims that his sentence of more than three

life terms is substantively unreasonable because the statutory

terms    required    to    be   imposed    for   his    five    convictions   for

violations of 18 U.S.C. § 924(c) is “essentially a life sentence”

and “sufficient” to satisfy the sentencing goals of 18 U.S.C.

§ 3553(a).       (Br. 78-79).

            This argument, too, lacks merit.

I.     The Reasonableness Standard

            This Court reviews sentences for reasonableness.               United

States v. Crosby, 397 F.3d 103, 114-15 (2d Cir. 2005), abrogated

on other grounds by United States v. Fagans, 406 F.3d 138, 142 (2d

Cir.    2005).      With   respect    to   substantive      reasonableness,    a

defendant    bears    a    particularly     heavy      burden   “because   [this

Court’s] review of a sentence for substantive reasonableness is

particularly deferential.”           See United States v. Broxmeyer, 699

F.3d 265, 289 (2d Cir. 2012). Indeed, substantive unreasonableness

review is narrow, akin to review for abuse of discretion, see,

e.g., United States v. Norman, 776 F.3d 67, 85 (2d Cir. 2015), and

thus this Court will set aside a district court’s decision on the

ground of substantive unreasonableness “only in exceptional cases

where the trial court’s decision cannot be located within the range

of permissible decisions,” see United States v. Cavera, 550 F.3d
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180, 189 (2d Cir. 2009) (en banc) (citation and internal quotation

marks omitted).

          In reviewing sentences, this Court does “‘not substitute

[its] own judgment for the district court’s on the question of

what is sufficient to meet the [18 U.S.C.] § 3553(a) considerations

in any particular case’ [and does] ‘not second guess the weight

(or lack thereof) that the judge accorded to a given [§ 3553(a)]

factor or to a specific argument made pursuant to that factor.’”

United States v. Fernandez, 443 F.3d 19, 34 (2d Cir. 2006) (quoting

Cavera, 550 F.3d at 189, and United States v. Pope, 554 F.3d 240,

247 (2d Cir. 2009); see also United States v. Hernandez, 377 F.

App’x 81, 83 (2d Cir. 2010).       As the Supreme Court observed, the

sentencing judge has greater familiarity with the facts of the

case and the individual defendant and is therefore “‘in a superior

position to find facts and judge their import under § 3353(a).’”

See Kimbrough v. United States, 552 U.S. 85, 89 (2007) (quoting

Gall v. United States, 552 U.S. 38, 51 (2007)).

          Finally, a multiple life sentence does not render a

sentence substantively unreasonable.         See also United States v.

Yousef, 327 F.3d 56, 163 (2d Cir. 2003) (holding that sentences

that exceed a defendant’s life expectancy do not constitute cruel

and unusual punishment when based upon proper application of the

Sentencing Guidelines or statutorily mandated consecutive terms).
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II.   The Sentence Was Reasonable Given The Crimes

            Here, the district court accurately determined Osborne’s

Sentencing Guidelines range as life and then sentenced him in light

of that range and the other factors set forth in 18 U.S.C.

§ 3553(a).   (A 280, 290-294).     Specifically, the court pointed out

that the trial evidence proved that Osborne, “along with . . .

gang members that [he] recruited and directed, committed murder,

attempted murder, and an enormous amount of racketeering acts.

[Osborne]    used   firearms   indiscriminately,      and   terrorized   the

neighborhood for a substantial period of time . . . .”              (A 285).

Further, in imposing sentence, the court not only took into account

the “extreme seriousness” of the offenses, but Osborne’s refusal

to “recognize his culpability.”        (A 292).

            Accordingly, because the district court fashioned an

appropriate sentence in accordance with the Guidelines and within

the range of permissible options before it, Osborne’s claim that

his sentence is unreasonable should be denied.
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                                POINT NINE

                  THE WRITTEN JUDGMENT IS CONSISENT
               WITH THE ORAL PRONOUNCEMENT OF SENTENCE

          Finally, Osborne contends that his written judgment

should be amended to reflect the purported oral pronouncement of

sentence, namely, three life consecutive sentences plus 115 years.

(Br. 79-80).

          This contention also fails.

          Although Osborne is correct that the district court

mistakenly stated that its sentence “should total 115 years”

(A 291), the oral pronouncement made clear that the court imposed

a sentence of imprisonment of three life sentences plus 135 years.

Indeed, after imposing three life sentences, the court pronounced

the following sentence: 10 years’ imprisonment for Counts Nine,

Fifteen, Twenty and Twenty-One; 20 years’ imprisonment for Counts

Three, Four, Six, Seven, Ten, Eleven, Sixteen; and 30 years’

imprisonment for Counts Twelve and Thirteen to run concurrently to

each other but consecutively to the other counts; and five years

for Count Nineteen (the first 18 U.S.C. § 924(c)), to be followed

by 25-year consecutive sentences for each of the remaining § 924(c)

violations (Counts Five, Eight, Fourteen and Seventeen).                (A 290-

92).   Thus, the court’s oral pronouncement of sentence was three

life sentences plus 135 years (30 years for Count Twelve plus 105
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                                                                       102

years for the § 924(c) counts), which is consistent with the

written judgment.     (See A 297).

         Accordingly, because the written sentence comports with

the oral sentence, the Court should reject Osborne’s request to

amend the judgment.
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                                                                         103

                                 CONCLUSION

           For the reasons stated above, the judgment should be

affirmed in all respects.

Dated:     Brooklyn, New York
           February 21, 2018

                                         Respectfully submitted,

                                         RICHARD P. DONOGHUE,
                                         United States Attorney,
                                         Eastern District of New York.

                                  By:               /s/
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                                         Assistant U.S. Attorney


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          Case 17-171, Document 70, 02/21/2018, 2239726, Page117 of 125




        CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATION,
          TYPEFACE REQUIREMENTS, AND TYPE STYLE REQUIREMENTS

            1.     This   brief   of   21,208   words    complies    with   the

Court’s February 14, 2018 order granting the government’s motion

for an oversized brief of 22,000 words, excluding the parts of the

brief exempted by Fed. R. App. P. 32(a)(7)(B)(iii).

            2.     This brief complies with the typeface requirements

of Fed. R. App. P. 32(a)(5) and the type style requirements of

Fed. R. App. P. 32(a)(6) because it has been prepared in a

monospaced typeface using Microsoft Word in 12-point Courier New

font.

Dated: Brooklyn, New York
       February 21, 2018

                                                       /s/
                                           JO ANN M. NAVICKAS
                                           Assistant U.S. Attorney
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            S P E C I A L     A P P E N D I X
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AO 2458 (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet I
                                                                                                                         FIL~ij
                                                                                                              U.S.   o7~fh~1-Rct:R9~E
                                         UNITED STATES DISTRICT COUR'i
                                                         Eastern District of New York
                                                                                                                      iJAN 17 2017           *
                                                                                                                                          D.N.Y.


                                                                           )
                UNITED STATES OF AMERICA                                   )      JUDGMENT IN A i:~~f'&sf°FlCE
                                  v.                                       )
                                                                           )
                       RAPHAEL OSBORNE                                            Case Number.: CR 14-264 (JS) Deft. #2
                                                                           )
                                                                           )      USM Number: 83520-053
                  (AUSA Nicole Boeckmann)                                  )
                                                                           )       Richard Miller, Esq.
                                                                           )      Defendant's Attorney
THE DEFENDANT:
D pleaded guilty to count(s)
D pleaded nolo contendere to count(s)
   which was accepted by the court.
liZI was found guilty on count(s)        1rssss - 21 rssss of superseding indictment (S-5), as redacted for trial
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended                Count
 18-1962(c), -1963                  Racketeering                                                              4/17/2013                   1rssss

 18-1962(d), -1963                  Racketeering conspiracy                                                  4/17/2013                    2rssss

 18-1951(8)                         Hobbs Act robbery conspiracies                                            12/20/2010                  3, 6rssss

       The defendant is sentenced as provided in pages 2 through          __6___ of this judgment The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
liZI Count(s)    earlier indictments                    D is       liZI are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of an}' change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material clianges in econom1c circumstances.

                                                                          1/13/2017


                                                                                       /s/ Joanna Seybert
                                                                         ~ofJudge




                                                                          JOANNA SEYBERT, U.S.D.J.
                                                                         Name and Title of Judge


                                                                           I
                                                                         Datel
                                                                               /,7 /2017
                                                                                      I            ·
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AO 245B (Rev. 11/16)     Judgment in a Criminal Case
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DEFENDANT: RAPHAEL OSBORNE
CASE NUMBER: CR 14-264 (JS) Deft. #2

                                            ADDITIONAL COUNTS OF CONVICTION

Title & Section                    Nature of Offense                                           Offense Ended         Count
18-1951 (a)                         Hobbs Act robberies                                        12/20/2010            4, 7rssss

18-924(c)(1 )(C)(i)                 Brandishing firearms during crimes of violence             12/20/2010            5, 8rssss

18-1959(a)(5)                      Conspiracy to commit murder in aid of racketeering          4/30/2013             9, 15, 20rssss

18-1959(a)(3)                      Attempted murder in aid of racketeering John Doe 1, 2       1/30/2013             10, 16rssss

18-1959(a)(3)                      Assault with a dangerous weapon in aid of racketeering      10/13/2012            11rssss

                                        of John Doe 1

18-1513(a)(1 )(B), (2)(8)          Witness retaliation                                         10/13/2012            12rssss

-1513(f), (a)(1 )(B), (2)(8)       Witness retaliation conspiracy                              10/13/2012            13rssss

18-924(c)(1 )(C)(i)                Discharging a firearm during crimes of violence             1/30/2013             14, 17rssss

21-846; -841(a)(1),                Conspiracy to distribute and possess with intent to         4/17/2013             18rssss

(b)(1 )(A)(iii), (b)(1 )(B)(i),        distribute at least 280g. cocaine base, 1OOg. heroin,

(b)(1 )(C), (b)(1 )(B)(vii)            100Kg. marijuana, and methylene

18-924(c)(1 )(A)(i)                Possession of firearm during controlled substance off.      4/17/2013             19rssss

18-922(g)(1 ); 924(a)(2)           Illegal possession of ammunition                            4/17/2013             21rssss
                      Case 17-171, Document 70, 02/21/2018, 2239726, Page122 of 125
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DEFENDANT: RAPHAEL OSBORNE
CASE NUMBER: CR 14-264 (JS) Deft. #2

                                                          IMPRISONMENT

          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
tennof:
  1620 mos. (i.e., 135 yrs.) plus 3 consecutive life terms:
  Counts 3, 4, 6, 7, 10, 11, 16: 240 mos.; Counts 9, 15, 20, 21: 120 mos.; Counts 12, 13: 360 mos. (ALL CONCURRENT)
  Counts 1, 2, 18: LIFE, consecutive to each other and to all other counts. Count 19: 60 mos., consecutive to all other counts.
  Counts 5, 8, 14, 17: 300 mos., consecutive to each other and to all other counts.
    D The court makes the following recommendations to the Bureau of Prisons:




    D The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
          D at                                               D p.m.
                    --------- D a.m.                                     on
          D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                      to

a - - - - - - - - - - - - - - , with a certified copy of this judgment.


                                                                                                UNITED STATES MARSHAL



                                                                        By---~~----------------
                                                                                            DEPUTY UNITED STATES MARSHAL
                      Case 17-171, Document 70, 02/21/2018, 2239726, Page123 of 125
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DEFENDANT: RAPHAELOSBORNE
CASE NUMBER: CR 14-264 (JS) Deft. #2
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:        NONE


                                                     MANDATORY CONDITIONS
I.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.                                   .
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             D The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.    D You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
5.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
6.    D You must participate in an approved program for domestic violence. (check ifupp/icable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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DEFENDANT:RAPHAELOSBORNE
CASE NUMBER: CR 14-264 (JS) Deft. #2
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                     JVTA Assessment*                                            Restitution
TOTALS             $ 2,100.00                   $                                $                          $



0    The determination ofrestitution is deferred until
                                                       ----
                                                            • An Amended Judgment in a Criminal Case (AO 24SC) will be entered
     after such determination.

D    The defendant must make restitution (including conununity restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payrrient, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                 Total Loss**                           Restitution Ordered                 Priority or Percentage




TOTALS                               $                                       $
                                                                                 ----------

D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      0    the interest requirement is waived for the           D fine   D restitution.
      D the interest requirement for the            0    fine    D restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount oflosses are required under Chapters I 09 A, 110, 11 OA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 24SB (Rev. 11/16)   Judgment in a Criminal Case
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DEFENDANT: RAPHAEL OSBORNE
CASE NUMBER: CR 14-264 (JS) Deft. #2

                                                        SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
A     ~     Lump sum payment of$          2,100.00            due immediately, balance due

            D     not later than                               ,or
            D     in accordance with 0 C,           D D,     D E, or         D Fbelow;or
B     D Payment to begin immediately (may be combined with                DC,         OD,or        D F below); or

C     D    Payment in equal                   (e.g.• weekly, monthly, quarterly) installments of $                             over a period of
          _ _ _ _ _ (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     O . Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                          over a period of
          _ _ _ _ _ (e.g.• months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     D Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, ifthisjudament imposes imprisonment, payment ofcriminal monetacypenalties is due during
the period of imprisonment. All criminal mone~ penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



0     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following_order: (1) assessment, (2) restitution principal, (3) restitution interest? (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVT A assessment, (8) penalties, and (9) costs, mcludmg cost of prosecution and court costs.
